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                        Exhibit A

                Asset Purchase Agreement
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                                            ASSET PURCHASE AGREEMENT
                                              DATED AS OF December 8, 2023
                                                       BY AND AMONG
                                                   GPSS HOLDINGS, LLC,
                                                       AS PURCHASER,
                                                             AND
                                                 YELLOW CORPORATION
                              AND ITS SUBSIDIARIES NAMED HEREIN, AS SELLERS
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                                            ASSET PURCHASE AGREEMENT
                   This Asset Purchase Agreement (this “Agreement”), dated as of December 8, 2023, is made
           by and among GPSS Holdings, LLC, a Delaware limited liability company (“Purchaser”), and Yellow
           Corporation, a Delaware corporation (as in existence on the date hereof, as a debtor-in-possession
           “Yellow”) and the Subsidiaries of Yellow that are indicated on the signature pages attached hereto
           (each a “Seller” and collectively with Yellow, the “Sellers”). Purchaser and Sellers are referred to
           herein individually as a “Party” and collectively as the “Parties.” Capitalized terms used herein shall
           have the meanings set forth herein, including Article XI.
                    WHEREAS, on August 6, 2023 (the “Petition Date”), Seller, together with certain of Seller’s
           Affiliates (the “Debtors”), commenced voluntary cases under chapter 11 of title 11 of the United
           States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court
           for the District of Delaware (the “Bankruptcy Court”), which cases are jointly administered for
           procedural purposes under In re Yellow Corporation, et. al., Case No. 23-11069 (CTG) (Bankr. D.
           Del. August 6, 2023) (collectively, the “Bankruptcy Cases”).
                  WHEREAS, on August 29, 2023, the Ontario Superior Court of Justice (Commercial List)
           (the “Canadian Court”) recognized the Bankruptcy Cases as “foreign main proceedings” in
           proceedings (the “Canadian Recognition Proceedings”) commenced by Yellow in its capacity as
           foreign representative in respect of the Bankruptcy Cases (in such capacity, the “Foreign
           Representative”) pursuant to the Companies’ Creditors Arrangement Act (the “CCAA”).
                   WHEREAS, on September 15, 2023, the Bankruptcy Court entered its Order (I)(A)
           Approving the Bidding Procedures For the Sale or Sales of the Debtors’ Assets; (B) Scheduling
           Auctions and Approving the Form and Manner of Notice Thereof; (C) Approving Assumption and
           Assignment Procedures; (D) Scheduling Sale Hearings and Approving the Form and Manner of
           Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
           Interests and Encumbrances and (B) Approving the Assumption and Assignment of Executory
           Contracts and Unexpired Leases; and (III) Granting Related Relief Docket No. 22 (the “Bidding
           Procedures Order”).
                    WHEREAS, Purchaser desires to purchase the Acquired Assets and assume the Assumed
           Liabilities from Sellers, and Sellers desire to sell, convey, assign, and transfer to Purchaser the
           Acquired Assets together with the Assumed Liabilities, in a sale (i) authorized by the Bankruptcy
           Court pursuant to, inter alia, sections 105, 363 and 365 of the Bankruptcy Code, in accordance with
           the other applicable provisions of the Bankruptcy Code and the Federal Rules of Bankruptcy
           Procedure and the local rules for the Bankruptcy Court, all on the terms and subject to the conditions
           set forth in this Agreement and the Sale Order, and (ii) recognized by the Canadian Court in the
           Canadian Recognition Proceedings pursuant to the Canadian Sale Recognition Order.
                   NOW, THEREFORE, in consideration of the foregoing premises and the mutual
           representations, warranties, covenants, and agreements set forth herein, and intending to be legally
           bound hereby, the Parties hereby agree as follows:
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                                                 ARTICLE I
                                   PURCHASE AND SALE OF ACQUIRED ASSETS;
                                     ASSUMPTION OF ASSUMED LIABILITIES
                    1.1    Purchase and Sale of the Acquired Assets. Pursuant to sections 105, 363, and 365 of
           the Bankruptcy Code, on the terms and subject to the conditions set forth herein, in the Sale Order,
           and in the Canadian Sale Recognition Order, at the Closing, Sellers shall sell, transfer, assign, convey,
           and deliver to Purchaser or a Designated Purchaser, and Purchaser or a Designated Purchaser shall
           purchase, acquire, and accept from Sellers, all of Sellers’ right, title and interest in and to, as of the
           Closing, the Acquired Assets, free and clear of all Encumbrances other than Permitted Encumbrances.
           For the avoidance of doubt, the Acquired Assets shall be free and clear of any and all Employment
           Liabilities, pension liabilities, and successor liabilities of any kind. “Acquired Assets” means all of
           the Sellers’ right, title and interest, as of the Closing, in and to:
                        (a)    the Owned Real Property of the Sellers set forth on Schedule 1.1(a) (the
           “Acquired Real Property”);
                            (b)     the Contracts set forth on Schedule 1.1(b) (collectively, the “Assigned
           Contracts”);
                           (c)     to the extent transferable under applicable Law, all of the rights, interests and
           benefits (if any) accruing under all Permits and Governmental Authorizations related to the Acquired
           Real Property, and all pending applications therefor;
                         (d)     all Documents relating solely to the Acquired Real Property included in the
           Acquired Assets, but excluding any information to the extent prohibited by Law;
                            (e)     all rights against third parties (including customers, suppliers, vendors,
           merchants, manufacturers and counterparties to any Assigned Contract), including causes of action,
           claims, counterclaims, defenses, credits, rebates (including any vendor or supplier rebates), demands,
           allowances, refunds (other than Tax refunds or Tax attributes), causes of action, rights of set off,
           rights of recovery, rights of recoupment or rights under or with respect to express or implied
           guarantees, warranties, representations, covenants or indemnities made by such third parties, with
           respect to any of the Acquired Real Property, or the Assumed Liabilities, in each case, other than (i)
           all preference or avoidance claims or actions arising under the Bankruptcy Code or applicable Law,
           (ii) all claims that any Seller or any of its Affiliates may have against any Person with respect to any
           other Excluded Assets or any Excluded Liabilities, and (iii) claims against any Seller or its Affiliates.
                     1.2     Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in no
           event shall Sellers be deemed to sell, transfer, assign, convey or deliver, and Sellers shall retain all
           right, title and interest to, in and under any of the other properties, rights, interests and assets of Sellers
           other than the Acquired Assets (collectively, the “Excluded Assets”). Further notwithstanding
           anything to the contrary in this Agreement, and without limiting any rights of Purchaser set forth in
           this Agreement, to the extent that any specific Acquired Asset located in Canada cannot be sold free
           and clear of any and all Employment Liabilities, pension liabilities, and successor liabilities of any
           kind (or such liabilities cannot be removed or released by operation of the Sale Order), Purchaser
           may, at its sole and absolute discretion, remove such asset from the Acquired Assets prior to Closing
           with no corresponding reduction in the Purchase Price. For the avoidance of doubt, Sellers shall not
           be deemed to sell, transfer, assign, convey or deliver, and Purchaser shall not acquire, (i) any assets


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           other than the Acquired Assets, (ii) any relationships, obligations, or liabilities in respect of any
           employees, suppliers, or customers of Sellers, (iii) any products or services in respect of Sellers’
           business and (iv) any goodwill or intellectual property in respect to Sellers’ business.
                   1.3     Assumption of Certain Liabilities. On the terms and subject to the conditions set forth
           herein, in the Sale Order, and in the Canadian Sale Recognition Order, effective as of the Closing, in
           addition to the payment of the Cash Payment in accordance with Section 2.1, Purchaser or a
           Designated Purchaser shall irrevocably assume from each Seller (and from and after the Closing pay,
           perform, discharge, or otherwise satisfy in accordance with their respective terms), and Sellers shall
           irrevocably transfer, assign, convey, and deliver to Purchaser or a Designated Purchaser, only the
           following Liabilities, without duplication and only to the extent not paid prior to the Closing
           (collectively, the “Assumed Liabilities”):
                         (a)   all Liabilities and obligations of any Seller under the Assigned Contracts that
           become due from and after the Closing;
                        (b)    all cure costs required to be paid pursuant to section 365 of the Bankruptcy
           Code in connection with the assumption and assignment of the Assigned Contracts (the “Cure
           Costs”);
                          (c)      all Liabilities (including, for the avoidance of doubt, Taxes other than income
           Taxes of Sellers) relating to amounts required to be paid, or actions required to be taken or not to be
           taken, by Purchaser under this Agreement and all Transfer Taxes;
                          (d)    all Liabilities agreed to be assumed by Purchaser or for which Purchaser has
           agreed to be responsible in accordance with this Agreement; and
                           (e)   all Liabilities arising out of or relating to any environmental, health or safety
           matter, including those arising under or relating to Environmental Laws or Hazardous Materials, in
           connection with ownership, operation, use or maintenance of the Acquired Assets, whenever arising
           or occurring (the “Environmental Liabilities”) other than those Environmental Liabilities (i) that are
           dischargeable, or capable of being sold free and clear, pursuant to Section 363 of the Bankruptcy
           Code, the CCAA, the Sale Order or the Canadian Sale Recognition Order, (ii) that are otherwise
           dischargeable pursuant to Section 1141 of the Bankruptcy Code, the CCAA, the Sale Order or the
           Canadian Sale Recognition Order, or (iii) from which the Acquired Assets are otherwise released as
           of the Closing pursuant to an Order of the Bankruptcy Court or Canadian Court, including the Sale
           Order and Canadian Sale Recognition Order, respectively.
                    1.4    Excluded Liabilities. Purchaser and the Designated Purchaser(s) (if any) shall not
           assume, be obligated to pay, perform or otherwise discharge or in any other manner be liable or
           responsible for any Liabilities of, or Action against, any Seller of any kind or nature whatsoever,
           whether absolute, accrued, contingent or otherwise, liquidated or unliquidated, due or to become due,
           known or unknown, currently existing or hereafter arising, matured or unmatured, direct or indirect,
           and however arising, whether existing on the Closing Date or arising thereafter as a result of any act,
           omission, or circumstances taking place prior to the Closing, other than the Assumed Liabilities (all
           such Liabilities that are not Assumed Liabilities being referred to collectively herein as the “Excluded
           Liabilities”). For the avoidance of doubt, all Liabilities under, associated with or with respect to any
           employee claim, former employee claim or claims from or related to any collective bargaining
           agreement, or corresponding or related pension plan obligation, under United States or Canadian Law


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           are expressly excluded.
                   1.5     Assumption/Rejection of Certain Contracts.
                            (a)     Assumption and Assignment of Executory Contracts. Sellers shall provide
           timely and proper written notice of the motion seeking entry of the Sale Order, and, as applicable,
           the Canadian Sale Recognition Order, to all parties to any executory Contracts or unexpired leases to
           which any Seller is a party that are Assigned Contracts and take all other actions reasonably necessary
           to cause such Contracts to be assumed by Sellers and assigned to Purchaser or a Designated Purchaser
           pursuant to section 365 of the Bankruptcy Code, and, as applicable, the CCAA, to the extent that such
           Contracts are Assigned Contracts at Closing. The Sale Order shall provide that as of and conditioned
           on the occurrence of the Closing, the applicable Sellers shall assume and assign or cause to be
           assigned to Purchaser or a Designated Purchaser, as applicable, the Assigned Contracts, each of
           which shall be identified by the name or appropriate description and date of the Assigned Contract
           (if available), the other party to the Assigned Contract and the address of such party for notice
           purposes, all included in a notice filed with the Bankruptcy Court. Such notice shall also set forth
           Sellers’ good faith estimate of the amounts necessary to cure any defaults under each of the Assigned
           Contracts as determined by Sellers based on their books and records or as otherwise determined by
           the Bankruptcy Court. At the Closing, Sellers shall, pursuant to the Sale Order, and the Assignment
           and Assumption Agreement(s) assume and assign to Purchaser or Designated Purchaser (the
           consideration for which is included in the Purchase Price), all Assigned Contracts that may be
           assigned by any such Seller to Purchaser pursuant to sections 363 and 365 of the Bankruptcy Code
           and, as applicable, the CCAA. At the Closing, Purchaser or a Designated Purchaser shall (i) pay all
           Cure Costs and (ii) assume, and thereafter in due course and in accordance with its respective terms
           pay, fully satisfy, discharge and perform all of the obligations under each Assigned Contract pursuant
           to section 365 of the Bankruptcy Code and, as applicable, the CCAA.
                            (b)     Non-Assignment.
                                    (i)    Notwithstanding anything to the contrary in this Agreement, a Contract
                   shall not be an Assigned Contract hereunder and shall not be assigned to, or assumed by,
                   Purchaser or a Designated Purchaser to the extent that such Contract is rejected by a Seller or
                   its Affiliates or terminated by a Seller, its Affiliates or any other party thereto, or terminates
                   or expires by its terms, on or prior to such time as it is to be assumed by Purchaser or a
                   Designated Purchaser as an Assigned Contract hereunder and is not continued or otherwise
                   extended upon assumption.
                                   (ii)    Notwithstanding anything to the contrary in this Agreement, to the
                   extent an Acquired Asset requires a Consent or Governmental Authorization (other than, and
                   in addition to and determined after giving effect to, any Order of the Bankruptcy Court,
                   including the Sale Order, and any Order of the Canadian Court, including the Canadian Sale
                   Recognition Order) in order to permit the sale or transfer to Purchaser or a Designated
                   Purchaser of the applicable Seller’s right, title and interest in and to such asset, and such
                   Consent or Governmental Authorization has not been obtained prior to such time as such
                   right, title and interest is to be transferred to Purchaser or a Designated Purchaser as an
                   Acquired Asset hereunder, such asset shall not be an Acquired Asset hereunder and shall not
                   be transferred to, or received by, Purchaser or a Designated Purchaser. If any Acquired Asset
                   is deemed not to be assigned pursuant to this clause (ii), the Closing shall nonetheless take
                   place subject to the terms and conditions set forth herein and, thereafter, through the earlier

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                   of such time as such Consent or Governmental Authorization is obtained and six months
                   following the Closing (or the closing of the Bankruptcy Cases or dissolution of the applicable
                   Seller(s), if earlier), Sellers and Purchaser (or a Designated Purchaser, if applicable) shall (A)
                   use reasonable best efforts to secure such Consent or Governmental Authorization as
                   promptly as practicable after the Closing and (B) cooperate in good faith in any lawful and
                   commercially reasonable arrangement reasonably proposed by Purchaser (or such Designated
                   Purchaser), including subcontracting, licensing, or sublicensing to Purchaser any or all of any
                   Seller’s rights and obligations with respect to any such Acquired Asset, under which (1)
                   Purchaser (or a Designated Purchaser) shall obtain (without infringing upon the legal rights
                   of such third party or violating any Law) the economic rights and benefits (net of the amount
                   of any related Tax costs imposed on Sellers or their respective Affiliates or any direct costs
                   associated with the retention and maintenance of such Acquired Asset incurred by any Seller
                   or its Affiliates) with respect to such Acquired Asset with respect to which the Consent or
                   Governmental Authorization has not been obtained and (2) Purchaser (or a Designated
                   Purchaser) shall assume and timely discharge any related burden and obligation with respect
                   to such Acquired Asset. Upon satisfying any requisite Consent or Governmental
                   Authorization requirement applicable to such Acquired Asset after the Closing, Seller’s right,
                   title and interest in and to such Acquired Asset shall promptly be transferred and assigned to
                   Purchaser or a Designated Purchaser in accordance with the terms of this Agreement and the
                   Sale Order, and, if applicable, the Canadian Sale Recognition Order. Notwithstanding
                   anything herein to the contrary, (x) the provisions of this Section 1.5(b) shall not apply to any
                   Consent or approval required under the HSR Act, the Competition Act Approval and the CTA
                   Approval, if required, and any Antitrust Laws, which Consent or approval shall be governed
                   by Section 6.3 and (y) no Seller will be obligated to pay any consideration therefor to any
                   third party from whom Consent or Governmental Authorization is requested or to initiate any
                   litigation to obtain any such Consent or Governmental Authorization.
                                                  ARTICLE II
                                       CONSIDERATION; PAYMENT; CLOSING
                   2.1 Consideration; Payment.
                           (a)    The aggregate consideration (collectively, the “Purchase Price”) to be paid by
           Purchaser for the purchase of the Acquired Assets shall be: (i) a cash payment of NINE MILLION
           EIGHT HUNDRED FIFTY THOUSAND DOLLARS ($9,850,000), subject to adjustments as
           specified in Section 2.7 (the “Cash Payment”), (ii) the assumption of Assumed Liabilities, provided
           that, notwithstanding the foregoing, with respect to the Assumed Liabilities of Canadian Seller to be
           assumed pursuant to this Agreement, such price shall be satisfied solely by the assumption of
           Assumed Liabilities that are accrued liabilities of Canadian Seller, (iii) the storage of the Rolling
           Stock on Purchaser’s property pursuant to Section 6.13 hereof, and (iv) such other consideration
           under law provided to Sellers pursuant to this Agreement.
                           (b)     At the Closing, Purchaser shall deliver, or cause to be delivered, to Sellers the
           Cash Payment, as adjusted pursuant to Section 2.7, less the Deposit, (the “Closing Date Payment”).
           The Closing Date Payment and any payment required to be made pursuant to any other provision
           hereof shall be made in cash by wire transfer of immediately available funds to such bank account as
           shall be designated in writing by the applicable Party to (or for the benefit of) whom such payment
           is to be made at least two Business Days prior to the date such payment is to be made.


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                          (c)     The Purchaser shall be liable for and shall pay all Transfer Taxes in addition
           to the Purchase Price.
                   2.2      Deposit.
                           (a)    Purchaser, on or prior to the date hereof, has, on the date hereof, made an
           earnest money deposit with Acquiom Clearinghouse LLC (the “Escrow Agent”) in the amount equal
           to 5% of the Cash Payment portion of the Purchase Price (the “Deposit”), by wire transfer of
           immediately available funds for deposit into a separate segregated, non-interest bearing escrow
           account maintained by the Escrow Agent in accordance with the Bidding Procedures Order. The
           Deposit shall not be subject to any lien, attachment, trustee process, or any other judicial process of
           any creditor of any Seller or Purchaser and shall be applied against payment of the Purchase Price on
           the Closing Date or otherwise paid or disbursed as expressly provided in this Agreement.
                            (b)     If this Agreement has been terminated by Sellers pursuant to Section 8.1(d),
           8.1(f), or 8.1(j) (or by Purchaser pursuant to Section 8.1(b) or 8.1(c), in each case in circumstances
           where Sellers would be entitled to terminate this Agreement pursuant to Section 8.1(d), 8.1(f), or
           8.1(j)), then the Parties shall promptly, but in any event within five (5) Business Days after such
           termination hereof, deliver joint written instructions to the Escrow Agent directing the Escrow Agent
           to transfer by wire transfer of immediately available funds 100% of the Deposit (together with any
           and all investment interest thereon, if any) to such account(s) as may be designated by Yellow, and
           Yellow shall retain the Deposit (together with any and all investment interest thereon if any);
           provided that nothing in this paragraph shall be deemed to limit any other remedies to which
           Purchaser may be entitled under this Agreement or applicable Law.
                           (c)     If this Agreement has been terminated by any Party, other than as
           contemplated by Section 2.2(b), then the Parties shall promptly, but in any event within five (5)
           Business Days after such termination hereof, deliver joint written instructions to the Escrow Agent
           directing the Escrow Agent to transfer by wire transfer of immediately available funds 100% of the
           Deposit (together with any and all investment interest thereon, if any) to such account(s) as may be
           designated by Purchaser, and the Deposit, together with any and all investment interest thereon, if
           any, shall be returned to Purchaser within five (5) Business Days after such termination.
                          (d)     The Parties agree that Sellers’ right to retain the Deposit (together with any
           and all investment interest thereon if any), as set forth in Section 2.2(b), is not a penalty, but rather is
           liquidated damages in a reasonable amount that will compensate Sellers for their efforts and resources
           expended and the opportunities foregone while negotiating this Agreement and in reliance on this
           Agreement and on the expectation of the consummation of the Transactions, which amount would
           otherwise be impossible to calculate with precision.
                           (e)     If the Closing occurs, at the Closing the Parties shall deliver joint written
           instructions to the Escrow Agent directing the Escrow Agent to transfer by wire transfer of
           immediately available funds 100% of the Deposit (together with any and all investment interest
           thereon, if any), less the aggregate amount of any Disputed Amounts, to such account(s) as may be
           designated by Yellow. In the event there are any Disputed Amounts at the time of the Closing, the
           parties shall, within one (1) Business Day following the resolution of such Disputed Amounts by the
           Independent Accountant in accordance with Section 2.7(c)(ii), deliver joint written instructions to the
           Escrow Agent directing the Escrow Agent to transfer by wire transfer of immediately available funds
           the remaining amounts of the Deposit and any additional Deposit amounts to the Party or Parties

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           entitled thereto pursuant to the written decision of the Independent Accountant as set forth in Section
           2.7(c)(ii), to such account(s) as may be designated by such recipient Party or Parties.
                   2.3      Closing; Escrow.
                           (a)     Closing. The closing of the purchase and sale of the Acquired Assets, the
           delivery of the Purchase Price, the assumption of the Assumed Liabilities in accordance with this
           Agreement (the “Closing”) will take place by telephone conference and electronic exchange of
           documents (or, if the Parties agree to hold a physical closing, at the offices of Kirkland & Ellis LLP,
           located at 601 Lexington Avenue, New York, New York 10022) at 10:00 a.m. Eastern Time on the
           second Business Day following full satisfaction or due waiver (by the Party entitled to the benefit of
           such condition) of the closing conditions set forth in Article VII (other than conditions that by their
           terms or nature are to be satisfied at the Closing), or at such other place and time as the Parties may
           agree in writing; provided that the Closing will occur no earlier than 120 calendar days after the
           Petition Date (i.e., December 4, 2023), which may be extended to 150 days with the written consent
           of Purchaser (such consent not to be unreasonably withheld) and the Persons whose consent is
           required under any debtor-in-possession financing agreement(s) of Sellers. The date on which the
           Closing actually occurs is referred to herein as the “Closing Date.” In anticipation of and following
           the Closing Date, Sellers and Purchaser shall make all commercially reasonable efforts to accomplish
           the recording of all documents and instruments necessary to transfer title to the Acquired Real
           Property within fourteen (14) days of Closing.
                           (b)    Closing Escrow. The Closing shall take place pursuant to a money escrow at
           the title company as reasonably determined by Sellers (such name to be provided to Purchaser with
           reasonable advance notice) (the “Title Company”) in accordance with the standard document and
           money escrow agreement utilized by the Title Company (“Closing Escrow”) to be opened with the
           Title Company on or before the Closing Date, with such special provisions inserted in the Closing
           Escrow as may be required to conform to this Agreement; provided that, in the event of a conflict
           between the terms of this Agreement and the Closing Escrow, the terms of this Agreement shall
           control. All of the documents required to be delivered pursuant to Section 2.4 and Section 2.5, and
           otherwise appropriate to consummate the Transactions shall be delivered to the Title Company, as
           closing agent, on or before Closing. Notwithstanding the foregoing, the Parties agree that the Closing
           may take place remotely or in a manner so that the Parties and their respective attorneys, or any of
           them, need not be physically present and may deliver all necessary documents by overnight mail or
           other means, in which event the Parties agree to complete all arrangements for Closing not later than
           the Closing Date so that all requirements, with the exception of the Purchase Price, for Closing are
           in place by the scheduled time for the Closing.
                           (c)    Furthermore, with respect to any Acquired Real Property located in Canada,
           the Parties agree that their respective Canadian attorneys will attend to the conveyance of such
           Acquired Real Property located in Canada in accordance with typical practices for the vesting of real
           property pursuant to a transaction completed pursuant to an insolvency proceeding in Canada, none
           of which shall expand the representations and warranties, or any other Liability of Sellers, or remedies
           of Purchaser against Sellers, hereunder.
                  2.4       Closing Deliveries by Sellers. At or prior to the Closing, Sellers shall deliver to
           Purchaser:
                            (a)     an assignment and assumption agreement substantially in the form of Exhibit

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           A (the “Assignment and Assumption Agreement”) duly executed by the applicable Sellers;
                          (b)    a quit claim deed with respect to each parcel of Acquired Real Property located
           outside of Canada, duly executed by the applicable Sellers;
                            (c)      with respect to each Seller that owns Acquired Real Property in Canada, a
           statutory declaration or other evidence satisfactory to Purchaser, acting reasonably, that each such
           Seller either (i) is not a non-resident of Canada within the meaning of section 116 of the Income Tax
           Act (Canada) or (ii) is a “Canadian partnership” within the meaning of the Income Tax Act (Canada);
                           (d)    an IRS Form W-9 or IRS Form W-8, as applicable, executed by each Seller or
           each Seller’s regarded owner for U.S. federal income Tax purposes;
                           (e)    an officer’s certificate, dated as of the Closing Date, executed by a duly
           authorized officer of Yellow certifying that the conditions set forth in Sections 7.2(a) and 7.2(c) have
           been satisfied;
                         (f)     a no warranty deed of sale in registerable form executed by the applicable
           Purchaser with respect to the Acquired Real Property located in Quebec;
                           (g)    such other documents, certificates, instruments, affidavits and transfer tax
           returns as are customarily executed by a seller of real property, and in the customary form, in the
           applicable city, county and state or province where each parcel of the Acquired Real Property is
           located, none of which shall expand the representations and warranties, or any other Liability of
           Sellers, or remedies of Purchaser against Sellers, hereunder;
                            (h)     physical access to and possession of each parcel of the Acquired Real
           Property; and
                           (i)   a no warranty deed of sale in registerable form executed by the applicable
           Seller and the Purchaser with respect to the Acquired Real Property located in Quebec.
                   2.5      Closing Deliveries by Purchaser.
                            (a)     At the Closing, Purchaser shall deliver to (or at the direction of) Sellers:
                                    (i)     the Closing Date Payment;
                                    (ii)    the Assignment and Assumption Agreement, duly executed by
                   Purchaser;
                                  (iii) an officer’s certificate, dated as of the Closing Date, executed by a duly
                   authorized officer of Purchaser certifying that the conditions set forth in Sections 7.3(a) and
                   7.3(b) have been satisfied;
                                  (iv)  from Purchaser or any applicable Designated Purchaser of Acquired
                   Real Property in Canada: (A) a certificate setting out its registration number under Part IX of
                   the Excise Tax Act (Canada) and, if applicable, An Act respecting the Quebec sales tax
                   (Quebec), (B) a GST/HST and QST undertaking to self-assess, report and pay directly to the
                   appropriate Governmental Body any applicable GST/HST and QST imposed on the purchase
                   of any Acquired Real Property in Canada, and (C) an indemnity in favor of the Sellers with


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                   respect to the purchase and sale of each Acquired Real Property in Canada and Transfer Taxes
                   applicable in connection therewith; and
                                   (v)     such other documents, certificates, instruments, affidavits and transfer
                   tax returns as are customarily executed by a purchaser of real property, and in the customary
                   form, in the applicable city, county, state or province where each parcel of the Acquired Real
                   Property is located.
                           (b)     Further at the Closing, Purchaser shall pay the Prorations and Closing- Related
           Costs set forth in Section 2.7.
                   2.6      Withholding. Purchaser shall not be entitled to deduct and withhold any Taxes from
           any amounts otherwise payable pursuant to this Agreement, except to the extent resulting from a
           Seller’s failure to satisfy its obligations under Section 2.4(d).
                   2.7      Adjustment; Prorations and Expenses.
                          (a) Prorations. The following prorations (the “Prorations”), except as specifically
           provided in this Agreement to the contrary, shall be made as of 12:01 a.m. on the Closing Date, it
           being agreed between the Parties that the Closing Date shall be an income and expense day for
           Purchaser, and shall be applied to reduce or increase the Purchase Price and the Closing Date
           Payment, as applicable:
                                   (i)     Taxes. All Taxes with respect to the Acquired Real Property not due
                   and payable as of the Closing Date, shall be prorated as of the Closing Date based on the most
                   recent ascertainable tax information for tax parcel number(s) that is attributable to the
                   Acquired Real Property. All prorations shall be final. Any installments of special or other
                   assessments affecting the Acquired Real Property which are due and payable for the period
                   prior to the Closing Date shall be paid by Sellers at Closing, and any installments of special
                   or other assessments affecting the Acquired Real Property which are due and payable for the
                   period subsequent to the Closing Date shall be paid by Purchaser. The term “Taxes” as used
                   in this Section 2.7(a)(i) includes general assessments, including regular annual assessments
                   payable to any property owners association, but does not include rollback or deferred taxes
                   which shall be paid by the Purchaser without contribution from the Sellers even if such
                   rollback or deferred taxes are applicable to a period prior to Closing.
                                  (ii)    Payments. All of the following: (A) utilities; (B) water and sewer
                   charges; (C) other payments due under any of the Assigned Contracts; (D) any prepaid items
                   which are transferred to Purchaser at the Closing and annual permit and inspection fees; and
                   (E) and any other items, the credit or proration of which are necessary to fairly allocate the
                   benefits and burdens of ownership of the Acquired Assets, shall be prorated at the Closing.
                   All prorations shall be final.
                                 (iii)    Miscellaneous. In the event that accurate prorations and other
                   adjustments cannot be made at Closing because current bills are not available or the amount
                   to be adjusted is not yet ascertainable, the Parties shall prorate on the best available
                   information. All prorations shall be final.
                         (b)      Closing-Related Costs. At Closing, Purchaser shall pay (i) the cost of the
           Closing Escrow; (ii) any costs related to any inspections by any municipality and repairs required by

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           any municipal, county, provincial, or state inspections, if any, and shall meet any other requirements
           as established by any municipal, county, provincial, or State ordinance with regard to the transfer of
           real estate; (iii) all financing related fees related to any Purchaser financing; and
           (iv) all recording and registration charges for the each conveyancing document and all documents
           pertaining to any Purchaser financing. Without limitation, the Designated Purchaser of Acquired Real
           Property in Canada is solely responsible for the timely payment of all GST/HST and provincial and
           municipal transfer taxes and duties on the transfer of immovables payable in connection with the
           conveyance of the Acquired Real Property in Canada. All closing costs other than as specified above,
           or as may be specifically allocated elsewhere in this Agreement, will be payable by the party
           responsible therefor at Closing. Except as otherwise provided for in this Agreement, the Parties shall
           each be solely responsible for the fees and disbursements of their respective counsel and other
           professional advisors (all of the foregoing, the “Closing-Related Costs”).
                            (c)     Closing Statement; Resolution of Disputes.
                                   (i) At least three (3) Business Days prior to the Closing, Purchaser shall deliver
                   to Yellow a statement setting forth Purchaser’s good faith estimates (prepared by the Title
                   Company) of (and reasonably delated calculations of) the Closing Date Payment, the
                   Prorations, and the Closing-Related Costs, and within one (1) Business Day thereafter Yellow
                   shall deliver to Purchaser a statement setting forth Yellow’s good faith estimates of (and
                   reasonably delated calculations of) Yellow’s response to such amounts (the “Closing
                   Statement”). The Parties shall work together in good faith to resolve any differences that they
                   may have with respect to the computation of any items in the Closing Statement which arise
                   in connection with Purchaser’s review thereof (it being understood that updated information
                   from the Title Company may require changes to such amounts); provided that in the event
                   any such differences are not resolved by the day immediately preceding the Closing Date,
                   then the Closing shall proceed pursuant to this Article II, based on the amounts set forth in
                   the Closing Statement together with any changes that the Parties have agreed to, and any
                   amounts remaining in dispute (being the difference between each Party’s good faith position
                   on each such amount, the “Disputed Amounts”) will be retained by the Escrow Agent until
                   resolution of such dispute in accordance with Section 2.7(c)(ii).
                                   (ii) All Disputed Amounts shall be submitted for resolution to Kroll, LLC (the
                   “Independent Accountant”) who, acting as experts and not arbitrators, shall resolve the
                   Disputed Amounts only and make any relevant adjustments to the Closing Statement. The
                   parties hereto agree that all adjustments shall be made without regard to materiality. The
                   Independent Accountant shall only decide the specific items under dispute by the parties,
                   acting as an expert and not as an arbitrator, and its decision for each Disputed Amount must
                   be within the range of values asserted by the Parties, respectively. The fees and expenses of
                   the Independent Accountant shall be allocated to and borne by Purchaser, on the one hand,
                   and Sellers, on the other hand, in inverse proportion as they may prevail on the Disputed
                   Amounts, which proportionate allocations shall be calculated on an aggregate basis based on
                   the relative dollar values of all Disputed Amounts and shall be determined by the Independent
                   Accountant and included in its written decision. The Independent Accountant shall decide as
                   soon as practicable within thirty (30) days (or such other time as the Parties shall agree in
                   writing) after their engagement, and their resolution of the Disputed Amounts and their
                   adjustments to the Closing Statement shall be conclusive and binding upon the parties hereto,
                   and the Disputed Amounts shall be released by the Escrow Agent and disbursed to the Party


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                   or Parties set forth in the written decision of the Independent Accountant in accordance with
                   this Section 2.7(c)(ii).
                                              ARTICLE III
                               REPRESENTATIONS AND WARRANTIES OF SELLERS
                   Except as (i) disclosed in the forms, reports, schedules, statements, exhibits and other
           documents filed with the SEC by Yellow in respect of Sellers and their business to the extent publicly
           available on the SEC’s EDGAR database (other than any disclosures set forth under the headings
           “Risk Factors” or “Forward-Looking Statements” and any other disclosures included therein to the
           extent they are forward-looking in nature), (ii) disclosed in any forms, statements or other documents
           filed with the Bankruptcy Court or the Canadian Court, (iii) set forth in the Schedules delivered by
           Sellers concurrently herewith (each, a “Schedule” and collectively, the “Schedules”) and subject to
           Section 10.10, or (iv) disclosed in land registry offices, Sellers represent and warrant to Purchaser as
           of the date hereof as follows.
                   3.1     Organization and Qualification. Except as set forth in Schedule 3.1, each Seller is a
           corporation or limited liability company, as applicable, duly organized, validly existing, and in good
           standing under the Laws of the jurisdiction of its incorporation or formation. Except as set forth in
           Schedule 3.1, each Seller is duly licensed or qualified to do business under the Laws of each
           jurisdiction in which the nature of the business conducted by it makes such licensing or qualification
           necessary, except where failure to be so licensed, qualified or in good standing would not,
           individually or in the aggregate, reasonably be expected to result in a Material Adverse Effect.
                  3.2    Authorization of Agreement. Subject to requisite Bankruptcy Court and Canadian
           Court approvals:
                           (a)    each Seller has all necessary power and authority to execute and deliver this
           Agreement and the other Transaction Agreements to which each such Seller is a party and to perform
           its obligations hereunder and to consummate the Transactions;
                           (b)     the execution, delivery and performance by each Seller of this Agreement and
           the other Transaction Agreements to which such Seller is a party, and the consummation by such
           Seller of the Transactions, subject to requisite Bankruptcy Court and Canadian Court approvals being
           granted, have been duly authorized by all requisite corporate action, limited liability company action
           or limited partnership action on the part of such Seller, as applicable, and no other organizational
           proceedings on such Seller’s part are necessary to authorize the execution, delivery and performance
           by such Seller of this Agreement or the other Transaction Agreements and the consummation by it
           of the Transactions; and
                            (c)    this Agreement and the other Transaction Agreements to which each Seller is
           a party have been, or will be, duly executed and delivered by such Seller and, assuming due
           authorization, execution and delivery hereof and thereof by the other parties hereto and thereto,
           constitutes, or will constitute, legal, valid and binding obligations of such Seller, enforceable against
           such Seller in accordance with its and their terms, except that such enforceability (a) may be limited
           by bankruptcy, insolvency, fraudulent transfer, reorganization, moratorium and other similar Laws
           of general application affecting or relating to the enforcement of creditors’ rights generally and (b) is
           subject to general principles of equity, whether considered in a proceeding at law or in equity
           (collectively, the “Enforceability Exceptions”).


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                   3.3      Conflicts; Consents. Assuming that (a) the Sale Order, the Canadian Sale Recognition
           Order, and all other requisite Bankruptcy Court and Canadian Court approvals are obtained, (b) the
           notices, authorizations, approvals, Orders, Permits or consents set forth on Schedule 3.3(b) are made,
           given or obtained (as applicable), and (c) the requirements of the HSR Act, Competition Act, CTA,
           and any other Antitrust Law applicable to the Transactions are complied with, neither the execution
           and delivery by Sellers of this Agreement or the other Transaction Agreements, nor the
           consummation by Sellers of the Transactions, nor performance or compliance by Sellers with any of
           the terms or provisions hereof or thereof, will (i) conflict with or violate any provision of the
           Organizational Documents of each Seller (ii) except as set forth on Schedule 3.3(b), violate or
           constitute a breach of or default (with or without notice or lapse of time, or both) under or give rise
           to a right of termination, modification, or cancelation of any obligation or to the loss of any benefit,
           any of the terms or provisions of any Assigned Contract or accelerate any Seller’s obligations under
           any such Assigned Contract, (iii) violate any Law or Order applicable to any Seller or (iv) result in
           the creation of any Encumbrance (other than a Permitted Encumbrance) on any of the Acquired
           Assets, except, in the case of clauses (ii) or (iii), as would not, individually or in the aggregate,
           reasonably be expected to have a Material Adverse Effect.
                   3.4     Title to Acquired Real Property. Schedule 1.1(a) sets forth a true and complete list of
           all Acquired Real Property. Sellers have good, valid and marketable fee simple title to the Acquired
           Real Property, free and clear of all Encumbrances other than Permitted Encumbrances and
           Encumbrances that will be released or terminated at or prior to Closing. With respect to the Acquired
           Real Property, except as set forth on Schedule 3.4, none of the Sellers has currently leased or
           otherwise granted to any Person the right to use or occupy such Acquired Real Property or any portion
           thereof. As it relates to Acquired Real Property in Canada, this Agreement is subject to compliance
           with the provisions of the relevant provincial legislation relating to the subdivision of land and any
           other similar legislation in such provinces, to the extent applicable. Prior to the Closing Date, the
           leases set forth on Schedule 3.4 shall have terminated in accordance with their terms prior to the
           Closing or the Debtors shall have moved in the Bankruptcy Court and the Bankruptcy Court shall
           have entered a final order rejecting such leases.
                    3.5     Assigned Contracts. True and complete copies of all Assigned Contracts and the leases
           set forth on Schedule 3.4 have previously been made available to Purchaser or Purchaser’s Advisors.
           Subject to requisite Bankruptcy Court and Canadian Court approvals being granted, and assumption
           by the applicable Seller of the applicable Contract in accordance with applicable Law (including
           satisfaction by Purchaser of any applicable Cure Costs) and except (i) as a result of the
           commencement of the Bankruptcy Cases and the Canadian Recognition Proceedings and (ii) with
           respect to any Contract that has previously expired in accordance with its terms, been terminated,
           restated, or replaced, (A) each Assigned Contract is valid and binding on the Seller that is a party
           thereto and, to the Knowledge of Sellers, each other party thereto, and is in full force and effect,
           subject to the Enforceability Exceptions, (B) the applicable Seller, and, to the Knowledge of Sellers,
           any other party thereto, have performed all obligations required to be performed by it under each
           Assigned Contract, (C) Sellers have received no written notice of the existence of any breach or
           default on the part of any Seller under any Assigned Contract, (D) there are no events or conditions
           which constitute, or, after notice or lapse of time or both, will constitute a default on the part of a
           Seller, or to the Knowledge of Sellers, any counterparty under such Assigned Contract and (E) to the
           Knowledge of Sellers, Sellers have not received any written notice from any Person that such Person
           intends to terminate, or not renew, any Assigned Contract, except in each case of clauses (A) through
           (E), as would not, individually or in the aggregate, reasonably be expected to have a Material Adverse

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           Effect.
                    3.6     Environmental Matters. Except as set forth on Schedule 3.6 or, as would not,
           individually or in the aggregate, be reasonably expected to result in a Material Adverse Effect, (i)
           Seller and its Subsidiaries are in compliance with all applicable Environmental Laws with respect to
           the Acquired Assets, which compliance includes complying in all material respects with all Permits
           required by applicable Environmental Laws for the ownership and operation of the Acquired Assets
           as currently owned and operated, (ii) within the two (2) years preceding the date hereof, Seller and
           its Subsidiaries have not received any written notice, and there are no Actions pending or, to the
           Knowledge of Seller, threatened in writing against Seller or any Subsidiary, regarding any violation
           of Environmental Laws with respect to the Acquired Assets and (iii) to the Knowledge of Seller,
           within the past two (2) years preceding the date hereof Seller and its Subsidiaries have not released
           any Hazardous Material at the Acquired Real Property, in violation of Environmental Laws and in a
           manner that currently requires remediation by a Seller or its Subsidiaries under Environmental Laws.
           This Section 3.6 contains the Seller’s sole representations and warranties regarding Environmental
           Laws, Hazardous Materials, or any other environmental, health or safety matters. For the avoidance
           of doubt, the acquired assets shall be sold to Purchaser free and clear from all Environmental
           Liabilities as set forth herein.
                   3.7     Brokers. Except for Ducera Partners LLC (“Seller Broker”) or as set forth on Schedule
           3.7, no broker, investment banker, financial advisor or other Person is entitled to any broker’s,
           finder’s, financial advisor’s or other similar fee or commission, or the reimbursement of expenses in
           connection therewith, in connection with the Transactions based upon arrangements made by or on
           behalf of a Seller or any of its Subsidiaries.
                    3.8     No Other Representations or Warranties. Except for the representations and warranties
           expressly contained in this Article III (as qualified by the Schedules and in accordance with the
           express terms and conditions (including limitations and exclusions) of this Agreement) (the “Express
           Representations”) (it being understood that Purchaser has relied only on such Express
           Representations and warranties), Purchaser acknowledges and agrees that no Seller nor any other
           Person on behalf of any Seller makes, and neither Purchaser has relied on, is relying on, or will rely
           on the accuracy or completeness of any express or implied representation or warranty with respect to
           any Seller, the Acquired Assets, or the Assumed Liabilities or with respect to any information,
           statements, disclosures, documents, projections, forecasts or other material of any nature made
           available or provided by any Person (including in any presentations or other materials prepared by
           Seller Broker) (the “Information Presentation”) or in that certain “Project Prime” data room
           administered by Datasite (the “Dataroom”) or elsewhere to Purchaser or any of its Affiliates or
           Advisors on behalf of Sellers or any of their Affiliates or Advisors. Without limiting the foregoing,
           no Seller nor any of its Advisors or any other Person will have or be subject to any Liability
           whatsoever to Purchaser, or any other Person, resulting from the distribution to Purchaser or any of
           its Affiliates or Advisors, or Purchaser’s or any of its Affiliates’ or Advisors’ use of or reliance on,
           any such information, including the Information Presentation, any information, statements,
           disclosures, documents, projections, forecasts or other material made available to Purchaser or any
           of its Affiliates or Advisors in the Dataroom or otherwise in expectation of the Transactions or any
           discussions with respect to any of the foregoing information.
                    3.9     No Taxable Canadian Property. None of the Acquired Assets of any Seller, other than
           a Seller that either (a) is not a non-resident of Canada within the meaning of section 116 of the Income


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           Tax Act (Canada) or (b) is a “Canadian partnership” within the meaning of the Income Tax Act
           (Canada), are “taxable Canadian property” of that Seller for purposes of the Income Tax Act (Canada),
           or “taxable Quebec property” of that Seller for purposes of the Taxation Act (Quebec).
                                             ARTICLE IV
                            REPRESENTATIONS AND WARRANTIES OF PURCHASER
                    Purchaser represents and warrants to Sellers as of the date hereof as follows.
                    4.1    Organization and Qualification. Purchaser is an entity duly created, formed or
           organized (as applicable), validly existing and in good standing under the Laws of the jurisdiction of
           its creation, formation or organization (as applicable) and has all requisite corporate or limited
           liability company power and authority necessary to conduct its business as it is now being conducted,
           except (other than with respect to Purchaser’s due formation and valid existence) as would not,
           individually or in the aggregate, reasonably be expected to have an adverse effect on Purchaser’s
           ability to consummate the Transactions. Purchaser is duly licensed or qualified to do business and is
           in good standing (where such concept is recognized under applicable Law) under the Laws of each
           jurisdiction in which the nature of the business conducted by it or the character or location of the
           properties owned or used by it makes such licensing or qualification necessary, except where the
           failure to be so licensed, qualified or in good standing would not, individually or in the aggregate,
           reasonably be expected to have an adverse effect on Purchaser’s ability to consummate the
           Transactions.
                   4.2     Authorization of Agreement. Purchaser has all necessary power and authority to
           execute and deliver this Agreement and to perform its obligations hereunder and to consummate the
           Transactions. The execution, delivery and performance by Purchaser of this Agreement, and the
           consummation by Purchaser of the Transactions, subject to requisite Bankruptcy Court and Canadian
           Court approvals being granted, have been duly authorized by all requisite corporate or similar
           organizational action and no other corporate or similar organizational proceedings on its part are
           necessary to authorize the execution, delivery and performance by Purchaser of this Agreement and
           the consummation by it of the Transactions. Subject to requisite Bankruptcy Court and Canadian
           Court approvals being granted, this Agreement has been duly executed and delivered by Purchaser
           and, assuming due authorization, execution and delivery hereof by the other Parties, constitutes a
           legal, valid and binding obligation of Purchaser, enforceable against Purchaser in accordance with its
           terms, except that such enforceability may be limited by the Enforceability Exceptions.
                   4.3      Conflicts; Consents.
                            (a)    Assuming that (i) the Sale Order, the Canadian Sale Recognition Order, and
           all other requisite Bankruptcy Court and Canadian Court approvals are obtained, (ii) the notices,
           authorizations, approvals, Orders, permits or consents set forth on Schedule 4.3(a) are made, given
           or obtained (as applicable), and (iii) the requirements of the HSR Act, Competition Act, and CTA are
           complied with, neither the execution and delivery by Purchaser of this Agreement, nor the
           consummation by Purchaser of the Transactions, nor performance or compliance by Purchaser with
           any of the terms or provisions hereof, will (A) conflict with or violate any provision of Purchaser’s
           Organizational Documents, (B) violate any Law or Order applicable to Purchaser, (C) violate or
           constitute a breach of or default (with or without notice or lapse of time, or both) under or give rise
           to a right of termination, modification, or cancelation of any obligation or to the loss of any benefit,
           any of the terms or provisions of any loan or credit agreement or other material Contract to which

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           Purchaser is a party or accelerate Purchaser’s obligations under any such Contract, or (D) result in
           the creation of any Encumbrance (other than a Permitted Encumbrance) on any properties or assets
           of Purchaser or any of its Subsidiaries, except, in the case of clauses (B) through (D), as would not,
           individually or in the aggregate, reasonably be expected to prevent or materially impair, alter or delay
           the ability of Purchaser to consummate the Transactions.
                          (b)     Except as set forth on Schedule 4.3(a), Purchaser is not required to file, seek
           or obtain any notice, authorization, approval, Order, permit or consent of or with any Governmental
           Body in connection with the execution, delivery and performance by Purchaser of this Agreement or
           the consummation by Purchaser of the Transactions, except (i) any filings required to be made under
           the HSR Act, or (ii) where failure to obtain such consent, approval, authorization or action, or to
           make such filing or notification, would not, individually or in the aggregate, reasonably be expected
           to prevent or materially impair, alter or delay the ability of Purchaser to consummate the
           Transactions.
                   4.4      Financing. Subject to the other provisions of this Section 4.4, Purchaser has as of the
           Bidder Approval Date, and will have at the Closing, sufficient funds in an aggregate amount
           necessary to pay the Purchase Price in full and to consummate all of the other Transactions, including
           the payment of the Purchase Price in full and all fees, expenses of, and other amounts required to be
           paid by, Purchaser in connection with the Transactions (the “Specified Uses”) and does not know of
           any circumstance or condition that could reasonably be expected to prevent or substantially delay the
           availability of such funds or otherwise impair such capability at the Closing and such other dates that
           such obligations and transactions are required to be satisfied pursuant to the terms hereof. Purchaser
           affirms that it is not a condition to Closing or to any of its obligations under this Agreement that
           Purchaser obtains financing for the Transactions.
           Notwithstanding this Section 4.4 or any other provision of this Agreement, Purchaser affirms that it
           is not a condition to the Closing or to any of its other obligations under this Agreement (including
           consummating the Transactions) that Purchaser obtain financing for or related to Transactions.
                  4.5     Brokers. There is no investment banker, broker, finder, or other intermediary which
           has been retained by or is authorized to act on behalf of Purchaser that might be entitled to any fee or
           commission in connection with the Transactions.
                   4.6     No Litigation. There are no Actions pending or, to Purchaser’s knowledge, threatened
           against or affecting Purchaser that will or would be reasonably likely to adversely affect Purchaser’s
           performance of its obligations under this Agreement or the consummation of the Transactions.
                   4.7     Certain Arrangements. There are no Contracts, undertakings, commitments or
           obligations, whether written or oral, between any member of the Purchaser Group, on the one hand,
           and any member of the management of Seller or its board of directors (or applicable governing body
           of any Affiliate of Seller), any holder of equity or debt securities of Seller, or any lender or creditor
           of Seller or any Affiliate of Seller, on the other hand, (a) relating in any way to the acquisition of the
           Acquired Assets or the Transactions or (b) that would be reasonably likely to prevent, restrict, impede
           or affect adversely the ability of Seller or any of its Affiliates to entertain, negotiate or participate in
           any such transactions.
                   4.8    Solvency. Purchaser is, and immediately after giving effect to the Transactions shall
           be, solvent and at all times shall: (a) be able to pay its debts as they become due; (b) own property


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           that has a fair saleable value greater than the amounts required to pay its debt (including a reasonable
           estimate of the amount of all contingent Liabilities) and (c) have adequate capital to carry on its
           business. No transfer of property is being made and no obligation is being incurred in connection
           with the Transactions with the intent to hinder, delay or defraud either present or future creditors of
           Purchaser. In connection with the Transactions, Purchaser has not incurred, nor plans to incur, debts
           beyond its ability to pay as they become absolute and matured.
                    4.9   No Foreign Person. As of Closing, Purchaser will not be a “foreign person,” as defined
           in Section 721 of the U.S. Defense Production Act of 1950, including any implementing regulations
           thereof.
                                                    ARTICLE V
                                            BANKRUPTCY COURT MATTERS
                   5.1     Bankruptcy Actions.
                           (a)     The bidding procedures to be employed with respect to this Agreement shall
           be those reflected in the Bidding Procedures Order. Purchaser agrees and acknowledges that Sellers,
           including through its representatives, are and may continue soliciting inquiries, proposals or offers
           from third parties in connection with any Alternative Transaction pursuant to the terms of the Bidding
           Procedures Order and the Canadian Bidding Procedures Recognition Order. In the event of a conflict
           between the terms of the Bidding Procedures Order or the Canadian Bidding Procedures Recognition
           Order and this Agreement, then the Bidding Procedures Order or Canadian Bidding Procedures
           Recognition Order, as applicable, shall control.
                            (b)    Purchaser shall promptly take all actions as are reasonably requested by Sellers
           to assist in obtaining the Bankruptcy Court’s entry of the Sale Order, the Canadian Court’s entry of
           the Canadian Sale Recognition Order, and any other Order reasonably necessary in connection with
           the Transactions, including furnishing affidavits, reasonable and customary financial information
           demonstrating wherewithal to perform under this Agreement and any other Assigned Contracts, or
           other documents or information for filing with the Bankruptcy Court or the Canadian Court, and
           making employees and Advisors of Purchaser and its Affiliates available to testify before the
           Bankruptcy Court or the Canadian Court for the purposes of, among other things, providing necessary
           assurances of performance by Purchaser under this Agreement, and demonstrating that Purchaser is
           a “good faith” purchaser under section 363(m) of the Bankruptcy Code, as well as demonstrating
           Purchaser’s ability to pay and perform or otherwise satisfy any Assumed Liabilities following the
           Closing.
                          (c)    Each Party shall (i) appear formally or informally in the Bankruptcy Court and
           the Canadian Court if reasonably requested by the other Party or required by the Bankruptcy Court
           or the Canadian Court in connection with the Transactions and (ii) keep the other reasonably apprised
           of the status of material matters related to the Agreement, including, upon reasonable request,
           promptly furnishing the other with copies of notices or other communications received by a Seller
           from the Bankruptcy Court or the Canadian Court with respect to the Transactions.
                          (d)     If Purchaser is not the prevailing party at the conclusion of the Auction (such
           prevailing party, the “Successful Bidder”) but is the next highest bidder at the Auction, Purchaser
           shall be required to serve as a back-up bidder (the “Backup Bidder”) and keep Purchaser’s bid to
           consummate the Transactions on the terms and conditions set forth in this Agreement (as the same


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           may be revised in the Auction) open and irrevocable until the later of (i) February 28, 2024, or, (ii)
           if Purchaser is the Backup Bidder and is deemed to have the new prevailing bid pursuant to this
           Section 5.1(d), the date that is sixty (60) calendar days after the date when Purchaser is so deemed to
           have the new prevailing bid; provided, however, that such date may be extended upon the mutual
           agreement of Purchaser and Yellow one time for an additional thirty (30) calendar days and, if so
           extended, Sellers shall pay to Purchaser an extension fee equal to 0.10% of the Purchase Price, which
           may be applied as a credit towards the Purchase Price if Purchaser is the Successful Bidder, and such
           other date as this Agreement is otherwise terminated. If the Successful Bidder fails to consummate
           the applicable Alternative Transaction as a result of a breach or failure to perform on the part of such
           Successful Bidder, the Backup Bidder will be deemed to have the new prevailing bid, and Sellers
           may consummate the Transactions on the terms and conditions set forth in this Agreement (as the
           same may have been improved upon in the Auction).
                           (e)     If Purchaser is the Successful Bidder or Backup Bidder at the Auction, within
           three (3) Business Days following the Bidder Approval Date, Sellers shall file with the Bankruptcy
           Court a motion seeking approval of the Sale Order. Sellers shall use commercially reasonable efforts
           to schedule a hearing with the Bankruptcy Court to consider entry of the Sale Order. From the date
           hereof until the earlier of (i) the termination of this Agreement in accordance with Article VIII and
           (ii) the Closing Date, Sellers shall use commercially reasonable efforts to obtain entry by the
           Bankruptcy Court of the Sale Order.
                           (f)    Promptly, and in any event within five (5) Business Days, following the entry
           by the Bankruptcy Court of the Sale Order, the Foreign Representative shall file with the Canadian
           Court a motion seeking approval of the Canadian Sale Recognition Order. The Foreign
           Representative shall use commercially reasonable efforts to schedule a hearing before the Canadian
           Court to consider entry of the Canadian Sale Recognition Order. From the date hereof until the earlier
           of (i) the termination of this Agreement in accordance with Article VIII and (ii) the Closing Date,
           Sellers shall use commercially reasonable efforts to obtain entry by the Canadian Court of the
           Canadian Sale Recognition Order.
                          (g)      Sellers and Purchaser acknowledge that this Agreement and the sale of the
           Acquired Assets are subject to higher and better bids and Bankruptcy Court and Canadian Court
           approval. Purchaser acknowledges that Sellers must take reasonable steps to demonstrate that they
           have sought to obtain the highest or otherwise best price for the Acquired Assets, including giving
           notice thereof to the creditors of Sellers and other interested parties, providing information about
           Sellers to prospective bidders, entertaining higher and better offers from such prospective bidders,
           and, in the event that additional qualified prospective bidders desire to bid for the Acquired Assets,
           conducting an Auction.
                          (h)     Purchaser shall provide adequate assurance of future performance as required
           under section 365 of the Bankruptcy Code (and as may be required under the CCAA) for the Assigned
           Contracts. Purchaser agrees that it will take all actions reasonably required to assist in obtaining a
           Bankruptcy Court finding that there has been a sufficient demonstration of adequate assurance of
           future performance under the Assigned Contracts, such as furnishing affidavits, non- confidential
           financial information and other documents or information for filing with the Bankruptcy Court and
           the Canadian Court and making Purchaser’s Advisors available to testify before the Bankruptcy Court
           and the Canadian Court.
                            (i)     Nothing in this Section 5.1 shall prevent Sellers from modifying the bidding

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           procedures as necessary or appropriate to maximize value for Sellers’ estate in accordance with
           Sellers’ fiduciary obligations.
                   5.2    Cure Costs. Subject to entry of the Sale Order and the Canadian Sale Recognition
           Order, Purchaser shall, on or prior to the Closing (or, in the case of any Contract that is to be assigned
           following the Closing pursuant to Section 1.5, on or prior to the date of such assignment), pay the
           Cure Costs and cure any and all other defaults and breaches under the Assigned Contracts so that
           such Contracts may be assumed by the applicable Seller and assigned to Purchaser in accordance
           with the provisions of section 365 of the Bankruptcy Code, the CCAA, and this Agreement.
                    5.3    Approval. Sellers’ obligations under this Agreement and in connection with the
           Transactions are subject to entry of and, to the extent entered, the terms of any Orders of the
           Bankruptcy Court (including entry of the Sale Order) and the Canadian Court (including entry of the
           Canadian Sale Recognition Order). Nothing in this Agreement shall require Sellers or their respective
           Affiliates to give testimony to or submit a motion to the Bankruptcy Court or to the Canadian Court
           that is untruthful or to violate any duty of candor or other fiduciary duty to the Bankruptcy Court, the
           Canadian Court, or their stakeholders.
                   5.4    Canadian Sale Recognition Order. The Canadian Sale Recognition Order shall, with
           respect to Acquired Assets of the Canadian Seller, among other things, (a) recognize and give full
           force and effect to the Sale Order in all provinces and territories in Canada, pursuant to section 49 of
           the CCAA, (b) approve the sale of the Acquired Assets of the Canadian Seller contemplated
           hereunder, (c) vest the Acquired Assets of the Canadian Seller in the Purchaser, free and clear of all
           Encumbrances other than the Permitted Encumbrances, (d) assign all of the applicable Assigned
           Contracts of the Canadian Seller, and (e) provide that upon payment of the Cure Costs in respect of
           the applicable Assigned Contracts of the Canadian Seller, all past defaults under the applicable
           Assigned Contracts shall be deemed to be cured and each such Assigned Contract shall be in good
           standing and effective, according to its terms.
                                                   ARTICLE VI
                                            COVENANTS AND AGREEMENTS
                    6.1    Conduct of the Sellers. From the date of this Agreement until the Closing Date or the
           earlier termination of this Agreement in accordance with Article VIII, Sellers shall not sell, transfer,
           lease, mortgage, pledge, grant any Encumbrance (other than Permitted Encumbrances and
           Encumbrances to be removed by operation of the Sale Order) on or otherwise encumber or dispose
           of any of the Acquired Assets, or otherwise commit or agree to take any of the foregoing actions. For
           the avoidance of doubt, nothing contained in this Agreement shall be construed to give to Purchaser,
           directly or indirectly, rights to control or direct the operations of Sellers prior to the Closing.
                   6.2      Access to Information.
                            (a)    From the date hereof until the Closing, Sellers will provide Purchaser and its
           authorized Advisors with reasonable access and upon reasonable advance notice and during regular
           business hours (so long as consistent with applicable Law and in accordance with the reasonable
           procedures established by Sellers) to the facilities, books and records (excluding any personnel files)
           of Sellers, in order for Purchaser and its authorized Advisors to access such information regarding
           the Acquired Assets and Assumed Liabilities (which shall include the Acquired Real Property, for
           certainty) as is reasonably necessary in order to consummate the Transactions; provided that (i) such


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           access does not unreasonably interfere with the normal operations of Sellers or any of their
           Subsidiaries, (ii) such access will occur in such a manner as Sellers reasonably determines to be
           appropriate to protect the confidentiality of the Transactions and such books and records, (iii) all
           requests for access will be directed Seller Broker or such other Person(s) as Sellers may designate in
           writing from time to time, (iv) nothing herein will require Sellers or any of their Subsidiaries to
           provide access to, or to disclose any information to, Purchaser or any other Person if such access or
           disclosure (A) would reasonably cause competitive harm to Sellers or any of their Subsidiaries if the
           Transactions are not consummated, (B) would waive any legal privilege or (C) would be in violation
           of applicable Laws (including the HSR Act and Antitrust Laws) or the provisions of any Contract to
           which Sellers is bound or would violate any fiduciary duty and (v) nothing herein will permit
           Purchaser or its authorized Advisors to conduct any sampling or testing of environmental media or
           any other invasive investigation or assessment at any property or facility (including the Acquired
           Real Property) of Sellers, including of the type commonly known as a Phase II environmental site
           assessment.
                          (b)     The information provided pursuant to this Section 6.2 will be used solely for
           the purpose of consummating the Transactions, and will be governed by all the terms and conditions
           of the Confidentiality Agreement, which Confidentiality Agreement shall survive the execution of
           this Agreement through the first to occur of the Closing and two years following the date hereof
           notwithstanding anything to the contrary therein. Purchaser will, and will cause its Advisors to, abide
           by the terms of the Confidentiality Agreement with respect to such access and any information
           furnished to Purchaser or any of its Advisors. Sellers make no representation or warranty as to the
           accuracy of any information, if any, provided pursuant to this Section 6.2, and none of Purchaser or
           its Advisors may rely on the accuracy of any such information.
                           (c)     From and after the Closing for a period of three years following the Closing
           Date (or, if later, the closing of the Bankruptcy Cases), Purchaser will provide Sellers and their
           Advisors with reasonable access, during normal business hours, and upon reasonable advance notice,
           to the books and records, including work papers, schedules, memoranda, Tax Returns, Tax schedules,
           Tax rulings, and other documents (for the purpose of examining and copying) of the Sellers or
           otherwise solely and exclusively pertaining to the Sellers that are included in and relate to the
           Acquired Assets, the Excluded Assets (if applicable), the Assumed Liabilities or the Excluded
           Liabilities (if applicable) with respect to periods or occurrences prior to the Closing Date, and
           reasonable access, during normal business hours, and upon reasonable advance notice, to employees,
           officers, Advisors, accountants, offices and properties of Purchaser (including for the purpose of
           better understanding such books and records). Unless otherwise consented to in writing by Sellers,
           Purchaser will not, for a period of three years following the Closing Date, destroy, alter or otherwise
           dispose of any such books and records of the Sellers without first offering to surrender such books
           and records of the Sellers to Sellers or any portion thereof that Purchaser may intend to destroy, alter
           or dispose of. Purchaser shall provide Sellers with fourteen (14) days prior written notice before
           disposing of or otherwise destroying any of Sellers books and records and Sellers shall have fourteen
           (14) days after the date set forth on Purchasers notice to remove, collect or otherwise cause to be
           preserved any such books and records of Sellers. From and after the Closing, Purchaser will, and will
           cause its employees to, provide Sellers with reasonable assistance, support and cooperation with
           Sellers’ wind-down and related activities (e.g., helping to locate such documents or information).
                          (d)     Purchaser will not, and will not permit any member of the Purchaser Group to,
           contact any officer, manager, director, employee, customer, supplier, lessee, lessor, lender, licensee,


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           licensor, distributor, noteholder or other material business relation of any Seller or any of its Affiliates
           prior to the Closing with respect to any Seller, any of its Subsidiaries, any of their respective
           businesses or the Transactions, in each case, without the prior written consent of Sellers for each such
           contact, other than in the ordinary course of Purchaser’s business unrelated to the Transactions and
           without referring to the Transactions and without disclosing any information in breach of the
           Confidentiality Agreement, but subject in all cases to Section 10.4(c).
                   6.3      Regulatory Approvals.
                          (a)    Subject to Section 6.4, each Seller will, and will cause its Subsidiaries to, (i)
           make or cause to be made all filings and submissions required to be made by Seller under any
           applicable Laws for the consummation of the Transactions, if any, (ii) cooperate with Purchaser in
           exchanging such information and providing such assistance as Purchaser may reasonably request in
           connection with any filings required to be made by the Purchaser Group pursuant to Section 6.3(b),
           and (iii)(A) supply promptly any additional information and documentary material that may be
           requested in connection with the filings made pursuant to this Section 6.3(a) or Section 6.3(b) and
           (B) use reasonable best efforts to take all actions necessary to obtain all required clearances in
           connection with such filings.
                           (b)     Subject to Section 6.4, Purchaser will, and will cause its Affiliates and
           Advisors to, (i) make or cause to be made all filings and submissions required to be made by any
           member of the Purchaser Group under any applicable Laws for the consummation of the
           Transactions, if any, (ii) cooperate with any Seller in exchanging such information and providing
           such assistance as any Seller may reasonably request in connection with any filings made by any
           Seller pursuant to Section 6.3(a), and (iii) (A) supply promptly any additional information and
           documentary material that may be requested in connection with the filings made pursuant to this
           Section 6.3(b) or Section 6.3(a) and (B) use reasonable best efforts to take all actions necessary to
           obtain all required clearances.
                          (c)    Notwithstanding anything to the contrary herein, Purchaser shall, at
           Purchaser’s sole cost and expense, prepare, submit and diligently prosecute applications, filings,
           submissions and other documents for the transfer, assignment or reissuance to Purchaser of any
           Permits required under Law (including Environmental Law), and Sellers shall reasonably cooperate
           with Purchaser obtain the relevant issuing agency’s approval of the transfer, assignment, or
           revocation and reissuance of such Permits.
                          (d)    This Section 6.3 shall not apply to efforts related to Antitrust Laws, which
           shall be governed by the obligations set forth in Section 6.4 below.
                   6.4      Antitrust Notification.
                           (a) To the extent required, each Seller and Purchaser (and their respective Affiliates,
           if applicable) will, (i) as promptly as practicable and no later than ten (10) Business Days following
           the date of this Agreement, file with the United States Federal Trade Commission (the “FTC”) and
           the United States Department of Justice (the “DOJ”), a Notification and Report Form relating to this
           Agreement the Transactions pursuant to the HSR Act, and (ii) as promptly as practicable and no later
           than thirty (30) days following the date of this Agreement, file all notifications, filings, registrations,
           forms and submissions, including any draft notifications in jurisdictions requiring pre-notification,
           as are required by the Antitrust Laws set forth on Schedule 7.1(a). With respect to Competition Act


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           Approval, as promptly as practicable and no later than twenty-one (21) days following the date of
           this Agreement, unless Purchaser and Seller mutually agree that Competition Act Approval is not
           required, (i) Purchaser shall file with the Commissioner of Competition a submission in support of a
           request for an ARC or a No Action Letter in respect of the transactions contemplated by this
           Agreement, and (ii) unless Purchaser and Seller mutually agree that such filings should be made on
           a different date or should not be made, Purchaser and Seller shall each file or cause to be filed
           notifications pursuant to paragraph 114(1) of the Competition Act. With respect to CTA Approval,
           unless Purchaser and Seller mutually agree that CTA Approval is not required, Purchaser will give
           notice to the Minister of Transport pursuant to Section 53.1 of the CTA.
                           (b)     Each Seller and Purchaser shall (and shall cause their respective Affiliates to)
           (A) cooperate and coordinate (and shall cause its respective Affiliates to cooperate and coordinate)
           with the other in the making of such filings; (B) supply the other (or cause the other to be supplied)
           with any information that may be required in order to make such filings; (C) make (or cause to be
           made) an appropriate response to any additional information that may be required or requested by the
           FTC, the DOJ or the Governmental Bodies of any other applicable jurisdiction; and (D) take (and
           cause their Affiliates to take) all action necessary, proper or advisable to (1) cause the expiration or
           termination of the applicable waiting periods pursuant to the HSR Act and any other Antitrust Laws
           applicable to this Agreement or the Transactions; and (2) obtain Competition Act Approval and CTA
           Approval, if required, and obtain any required Consents pursuant to the HSR Act and any other
           Antitrust Laws applicable to this Agreement or the Transactions, in each case as promptly as
           reasonably practicable and in any event prior to the Outside Date. If any Party or Affiliate thereof
           receives any comments or a request for additional information or documentary material from any
           Governmental Body with respect to the Transactions pursuant to the HSR Act or any other applicable
           Antitrust Law, then such Party shall make (or cause to be made), as promptly as practicable and after
           consultation with the other Party, an appropriate response to such request; provided that neither Party
           may stay, toll or extend any applicable waiting period under the HSR Act, the Competition Act, or
           the CTA, pull and refile under the HSR Act, the Competition Act, or the CTA, or enter into any
           timing agreement or other understanding with any Governmental Body with respect to the HSR Act,
           the Competition Act, or the CTA, or any other Antitrust Law applicable to the Transactions without
           the prior written consent of the other Party, which shall not be unreasonably withheld, conditioned,
           or delayed. Purchaser will be solely responsible for payment of all filing fees payable in connection
           with such filings.
                           (c)      Subject to the immediately following sentence, each Seller and Purchaser will
           use their reasonable best efforts to as promptly as practicable (and in any event prior to the Outside
           Date) obtain any clearances, Consents, approvals, waivers, actions, waiting period expirations or
           terminations, non-actions or other authorizations required under the HSR Act or any other Antitrust
           Law for the consummation of this Agreement and the Transactions. In furtherance and not in
           limitation of the other covenants in this Section 6.4, and notwithstanding anything else in this
           Agreement, Purchaser will take, and will cause its Affiliates to take, any and all steps necessary to
           avoid or eliminate each and every impediment under any Antitrust Law that may be asserted by any
           Governmental Body or any other Person as may be required in order to obtain satisfaction of the
           closing conditions set forth in Section 7.1(a) prior to the Outside Date and allow the consummation
           of this Agreement and the Transactions as soon as practicable and, in any event, prior to the Outside
           Date, including offering, negotiating, committing to and effecting, by Consent decree, hold separate
           order or otherwise, (i) the sale, divestiture, transfer, license, disposition, or hold separate (through the
           establishment of a trust or otherwise), of any and all of the capital stock or other equity or voting

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           interest, assets (whether tangible or intangible), rights, properties, products or businesses of
           Purchaser, its Subsidiaries or Affiliates, or the Seller and its Subsidiaries; (ii) the termination,
           modification, or assignment of existing relationships, joint ventures, Contracts, or obligations of
           Purchaser, its Subsidiaries or Affiliates, or the Seller and its Subsidiaries; (iii) the modification of
           any course of conduct regarding future operations of Purchaser, its Subsidiaries or Affiliates, or the
           Seller and its Subsidiaries; and (iv) any other restrictions on the activities of Purchaser, its
           Subsidiaries or Affiliates, or the Seller and its Subsidiaries, including the freedom of action of
           Purchaser, its Subsidiaries or Affiliates, or the Seller and its Subsidiaries with respect to, or their
           ability to retain, any of their respective operations, divisions, businesses, product lines, customers,
           assets or rights or interests, or their freedom of action with respect to the assets, properties, or
           businesses to be acquired pursuant to this Agreement. Purchaser shall oppose any request for, the
           entry of, and seek to have vacated or terminated, any Order, judgment, decree, injunction or ruling
           of any Governmental Body that could restrain, prevent or delay any required Consents applicable to
           the Transactions, including by defending through litigation, any Action asserted by any Person in any
           court or before any Governmental Body and by exhausting all avenues of appeal, including appealing
           properly any adverse decision or Order by any Governmental Body, it being understood that the costs
           and expenses of all such actions shall be borne by Purchaser. Notwithstanding the foregoing, nothing
           in this Agreement shall require the Seller or any of its Subsidiaries or Affiliates to take or agree to
           take any action that is unrelated to Transactions or is not conditioned on the Closing as may be
           required in order to obtain satisfaction of the closing conditions set forth in Section 7.1(a) prior to the
           Outside Date, in each case, so as to allow the consummation of this Agreement and the Transactions
           as soon as practicable and, in any event, prior to the Outside Date.
                           (d)     None of Sellers or Purchaser will participate in any meeting or discussion with
           any Governmental Body with respect of any filings, applications, investigation or other inquiry
           relating to the Transactions without giving the other Party reasonable prior notice of the meeting or
           discussion and, to the extent permitted by the relevant Governmental Body, the opportunity to attend
           and participate in such meeting or discussion, unless prohibited by such Governmental Body. Sellers
           will have the right to review and approve the content of any draft notifications, formal notifications,
           filing, submission or other written communication (and any analyses, memoranda, presentations,
           white papers, correspondence or other written materials submitted therewith) to be submitted to any
           Governmental Body in advance of any such submission. Each Party acknowledges that, with respect
           to any non-public information provided by a Party to the other under this Section 6.4, each Party may
           (1) designate such material as restricted to “outside counsel only” and any such material shall not be
           shared with employees, officers or directors or their equivalents of the receiving Party without
           approval of the disclosing Party and (2) redact such materials as necessary to satisfy contractual
           confidentiality obligations, preserve attorney-client privilege or protect material relating to the
           valuation of the Acquired Assets.
                           (e)     Purchaser will not, and will not permit any member of the Purchaser Group or
           their respective Affiliates to, directly or indirectly take any action or agree to take any action
           (including but limited to acquiring or agreeing to acquire any assets or businesses) that would be
           reasonably likely to materially delay or prevent the receipt of any required clearances, Consents,
           approvals, waivers, actions, waiting period expirations or terminations, non-actions or other
           authorizations under the HSR Act or other Antitrust Law or increase the risk of any Governmental
           Body entering an Order preventing, delaying or prohibiting the consummation of the Transactions or
           delay the consummation of the Transactions.
                   6.5     Reasonable Efforts; Cooperation.

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                            (a)     Subject to the other terms of this Agreement, each Party shall, and shall cause
           its Subsidiaries to, use its and their respective reasonable best efforts to perform its and their
           respective obligations hereunder and to take, or cause to be taken, and do, or cause to be done, all
           things necessary, proper or advisable to cause the Transactions to be effected as soon as practicable,
           but in any event on or prior to the Outside Date, in accordance with the terms hereof and to cooperate
           with each other Party, its Affiliates and its and their respective Advisors in connection with any step
           required to be taken as a part of its obligations hereunder. Notwithstanding the foregoing or anything
           else herein to the contrary, the “reasonable best efforts” of Sellers will not require Sellers or any of
           its Affiliates or other Seller Parties to expend any money to remedy any breach of any representation
           or warranty, to commence any Action, to waive or surrender any right, to modify any Contract or to
           waive or forego any right, remedy or condition hereunder. For the avoidance of doubt, the Parties
           agree that the foregoing cannot be construed to create any obligation on any of the aforementioned
           Advisors to take or refrain from taking any action, absent an express contractual requirement to do
           so, nor can any of the foregoing be construed to override existing confidentiality and other obligations
           owed by any Party or other Person to such Advisors.
                           (b)     The obligations of Sellers pursuant to this Agreement, including this Section
           6.5, shall be subject to any Orders entered, or approvals or authorizations granted or required, by or
           under (i) the Bankruptcy Court or the Bankruptcy Code (including in connection with the Bankruptcy
           Cases) and (ii) the Canadian Court or the CCAA (including in connection with the Canadian
           Recognition Proceedings), Sellers’ debtor-in-possession financing, and Sellers’ obligations as
           debtors in possession to comply with any Order of the Bankruptcy Court (including the Bidding
           Procedures Order and the Sale Order), any Order of the Canadian Court (including the Canadian
           Bidding Procedures Recognition Order and the Canadian Sale Recognition Order), and Sellers’ duty
           to seek and obtain the highest or otherwise best price for the Acquired Assets as required by the
           Bankruptcy Code.
                   6.6     Reserved.
                   6.7    De-Branding. As soon as reasonably practicable, but in no event more than sixty (60)
           days after the Closing, Purchaser or Designated Purchaser, as applicable, shall take all actions
           necessary to remove or obscure any of Sellers’ identifiable trademarks, tradenames, trade dress,
           branding, signage, or other usage of any Seller’s trademarks, business names and logos located on or
           about the Acquired Real Property, including all uses of the name “Yellow” and Yellow’s trademarks.
                   6.8      Further Assurances. From time to time, as and when requested by any Party and at
           such requesting Party’s expense, any other Party will execute and deliver, or cause to be executed
           and delivered, all such documents and instruments and will take, or cause to be taken, all such further
           or other actions as such requesting Party may reasonably deem necessary or desirable to evidence
           and effectuate the Transactions. In furtherance of the foregoing, in order to facilitate the timely
           registration of any Acquired Real Property in accordance with this Agreement and local land registry
           office requirements, the Parties shall agree upon the fair market value of each Acquired Real Property
           and each Party hereto will execute and deliver, or cause to be executed and delivered, at the requesting
           Party’s expense, such reasonable and typical affidavits, conveyances and/or filings as the local land
           registry office may require and to which the requested Party has no reasonable objection. However,
           while each of the Parties will co-operate in connection with the foregoing, notwithstanding the
           foregoing co-operation, said co-operation and the resulting affidavits, conveyances and/or filings
           shall not in itself, in any manner: (x) increase or decrease the scope or any other aspect of any Party’s


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           representations or warranties and/or other obligations contained in this Agreement; and (y) result in
           a requested Party incurring any additional third party costs or expenses (other than its own legal fees
           which it shall continue to be solely responsible for bearing).
                   6.9     Insurance Matters. Purchaser acknowledges that, subject to the next sentence, upon
           Closing, all nontransferable insurance coverage provided in relation to any Seller and the Acquired
           Assets that is maintained by such Seller or its Affiliates (whether such policies are maintained with
           third party insurers or with Seller or its Affiliates) shall cease to provide any coverage to Purchaser
           and the Acquired Assets and no further coverage shall be available to Purchaser or the Acquired
           Assets under any such policies. From and after the Closing, Purchaser shall have the right to make
           claims and the right to any proceeds with respect to any matter solely to the extent related to the
           Acquired Assets or Assumed Liabilities under any insurance policies for occurrence-based claims
           inuring to the benefit of Sellers or any of their Affiliates for periods prior to the Closing, and Sellers
           shall use reasonable efforts to seek recovery or allow Purchaser to seek recovery under such insurance
           policies, and Seller shall cooperate with Purchaser’s reasonable requests if it seeks recovery, with
           respect to such matters and shall remit (or, at Purchaser’s request, direct any such insurer to pay
           directly to Purchaser) any insurance proceeds actually obtained therefrom (net of Sellers’ reasonable
           and documented out-of-pocket costs and expenses of seeking such recovery, to the extent not
           otherwise paid or reimbursed by Purchaser) to Purchaser or its designee.
                    6.10 Guarantees. Purchaser acknowledges that in the course of conduct of their business,
           Sellers and their Affiliates may have entered into various arrangements (a) in which guarantees,
           letters of credit, sureties, bonds or similar arrangements were issued by Sellers or their Affiliates and
           (b) in which Sellers or their Affiliates are the primary obligors on other Contracts, in any such case
           to support or facilitate such business. The arrangements entered into by Sellers or their Affiliates
           referred to in the foregoing clauses (a) and (b), solely to the extent relating to any Acquired Assets
           or Assumed Liabilities set forth in Schedule 6.10, are referred to as the “Seller Support Obligations”.
           It is understood that the Seller Support Obligations are not intended to continue after the Closing.
           Purchaser agrees that it shall use its reasonable best efforts to obtain replacements for the Seller
           Support Obligations (which shall include the full and unconditional release of Sellers and their
           Affiliates) that will be in effect at the Closing or, in the case of Seller Support Obligations described
           in the foregoing clause (b), will use its commercially reasonable efforts to arrange for itself or one of
           its Subsidiaries to be substituted as the primary obligor thereon as of the Closing through an
           assumption, accession, acknowledgement or similar agreement (which shall include the full and
           unconditional release of Sellers and their Affiliates) with the beneficiary of the applicable Seller
           Support Obligation. Whether or not Purchaser is able to satisfy the terms of the immediately
           preceding sentence, Purchaser shall indemnify Sellers and their Affiliates and each of their respective
           officers, directors, employees, agents and representatives from and against any and all Liabilities
           incurred by any of them relating to the Seller Support Obligations. Purchaser agrees that, with respect
           to any Seller Support Obligation, its reasonable best efforts pursuant to this Section 6.10 shall include,
           if requested, the execution and delivery by Purchaser, or by an Affiliate of Purchaser acceptable to
           the beneficiary of such Seller Support Obligation, of a replacement guarantee that is substantially in
           the form of such Seller Support Obligation. All costs and expenses incurred in connection with
           providing the release or substitution of the Seller Support Obligations shall be borne by Purchaser.
                   6.11     Receipt of Misdirected Assets; Liabilities.
                            (a)     From and after the Closing, if any Seller or any of its respective Affiliates


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           receives any right, property or asset that is an Acquired Asset, the applicable Seller shall promptly
           transfer or cause such of its Affiliates to transfer such right, property or asset (and shall promptly
           endorse and deliver any such asset that is received in the form of cash, checks or other documents)
           to Purchaser, and such asset will be deemed the property of Purchaser held in trust by such Seller for
           Purchaser until so transferred. From and after the Closing, if Purchaser or any of its Affiliates receives
           any right, property or asset that is an Excluded Asset, Purchaser shall promptly transfer or cause such
           of its Affiliates to transfer such asset (and shall promptly endorse and deliver any such right, property
           or asset that is received in the form of cash, checks, or other documents) to the applicable Seller, and
           such asset will be deemed the property of such Seller held in trust by Purchaser for such Seller until
           so transferred.
                            (b)    From and after the Closing, if any Seller or any of its Affiliates is subject to a
           Liability that should belong to Purchaser or its Affiliates pursuant to the terms of this Agreement,
           such Seller shall promptly transfer or cause such of its Affiliates to transfer such Liability to
           Purchaser, and Purchaser shall assume and accept such Liability. From and after the Closing, if
           Purchaser or any of its Affiliates is subject to a Liability that should belong to a Seller or its Affiliates
           pursuant to the terms of this Agreement, Purchaser shall promptly transfer or cause such of its
           Affiliates to transfer such Liability to the applicable Seller or its Affiliates, and such Seller or its
           Affiliates shall assume and accept such Liability.
                  6.12 Acknowledgment by Purchaser. Notwithstanding the foregoing or anything else
           contained herein or elsewhere to the contrary:
                            (a)    Purchaser acknowledges and agrees, on its own behalf and on behalf of the
           Purchaser Group, that it has conducted to its full satisfaction an independent investigation and
           verification of the business (including its financial condition, results of operations, assets, Liabilities,
           properties, Contracts, zoning, environmental, health or safety conditions and compliance, employee
           matters, regulatory compliance, business risks and prospects) of Sellers, and the Acquired Assets and
           the Assumed Liabilities, and, in making its determination to proceed with the Transactions, Purchaser
           and the Purchaser Group have relied solely, are relying, and will rely, solely, on the Express
           Representations and the results of the Purchaser Group’s own independent investigation and
           verification and have not relied on, are not relying on, and will not rely on, any information,
           statements, disclosures, documents, projections, forecasts or other material made available to
           Purchaser or any of its Affiliates or Advisors in the Dataroom, any Information Presentation, or any
           other information, statements, disclosures or materials, in each case, whether written or oral, made
           or provided by or on behalf of any Seller or any other Seller Party, or any failure of any of the
           foregoing to disclose or contain any information, except for the Express Representations. Purchaser
           acknowledges and agrees, on its own behalf and on behalf of the Purchaser Group, that (i) the Express
           Representations are the sole and exclusive representations, warranties and statements of any kind
           made to Purchaser or any member of the Purchaser Group and on which Purchaser or any member
           of the Purchaser Group may rely in connection with the Transactions and (ii) all other representations,
           warranties and statements of any kind or nature expressed or implied, statutory, whether in written,
           electronic or oral form, including (A) the completeness or accuracy of, or any omission to state or to
           disclose, any information (other than solely to the extent expressly set forth in the Express
           Representations) including in the Dataroom, Information Presentation, meetings, calls or
           correspondence with management of any Seller, any of the Seller Parties or any other Person on
           behalf of any Seller or any of the Seller Parties or any of their respective Affiliates or Advisors and
           (B) any other statement relating to the historical, current or future business, financial condition,


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           results of operations, assets, Liabilities, properties, Contracts, environmental, health or safety
           conditions and compliance, employee matters, regulatory compliance, business risks and prospects
           of the Sellers, or the quality, quantity or condition of any of the Acquired Assets, are, in each case,
           specifically disclaimed by each Seller, on its behalf and on behalf of the Seller Parties. Purchaser, on
           its own behalf and on behalf of the Purchaser Group: (1) disclaims reliance on the items in clause (ii)
           in the immediately preceding sentence; and (2) acknowledges and agrees that it has relied on, is
           relying on and will rely on only the items in clause (i) in the immediately preceding sentence.
                          (b)    Purchaser acknowledges and agrees, on its own behalf and on behalf of the
           members of Purchaser Group, that it will not assert, institute, or maintain, and will cause each member
           of the Purchaser Group not to assert, institute or maintain, any Action that makes any claim contrary
           to the agreements and covenants set forth in this Section 6.12. Purchaser acknowledges and agrees,
           on its own behalf and on behalf of the members of Purchaser Group, that the covenants and
           agreements contained in this Section 6.12 (i) require performance after the Closing to the maximum
           extent permitted by applicable Law and (ii) are an integral part of the Transactions and that, without
           these agreements set forth in this Section 6.12, Sellers would not enter into this Agreement.
                   6.13 Removal of Trucks, Trailers, Other Rolling Stock, and Other Assets. On or before the
           Closing Date, Sellers and Purchaser shall reasonably agree on Acquired Real Property locations to
           which the trucks, trailers and other rolling stock of Sellers (collectively, the “Rolling Stock”) shall
           be consolidated to in order to permit a timely and organized disposition of such Rolling Stock. As a
           post-Closing covenant, and not as a Closing condition, all Rolling Stock shall have been removed
           from the Acquired Real Property within thirty (30) days after the Closing Date or such other period
           as the Parties may agree; provided that, if at the end of such period, there remains any Acquired Real
           Property that Sellers have not fully vacated in accordance with this Section 6.13, Sellers shall pay
           Purchaser a license fee per month thereafter (until so vacated) in the amount of a fair market rental
           rate per month equal to 0.7% of the Purchase Price of those properties occupied by Sellers (as
           determined by the Allocation pursuant to Section 9.2 of this Agreement) plus all pro-rated real estate
           taxes with respect to such occupied properties, for up to two additional months. If Sellers have not
           vacated such properties in accordance with this Section 6.13 by the end of the second additional
           month, the fair market rental rate per month for each additional month shall be 0.8% of the Purchase
           Price of those properties occupied by Sellers (as determined by the Allocation pursuant to Section
           9.2 of this Agreement) plus all pro-rated real estate taxes with respect to such occupied properties,
           for up to two additional months. If Sellers have not vacated such properties by the end of the fourth
           additional month, the fair market rental rate per month thereafter shall be 1.0% of the Purchase Price
           of those properties occupied by Sellers (as determined by the Allocation pursuant to Section 9.2 of
           this Agreement) plus all prorated real estate taxes with respect to such occupied properties. No
           additional extensions shall be considered unless both Parties agree to such extension in writing.
           Sellers shall be responsible for Purchaser’s reasonable legal expenses and other costs incurred by
           Purchaser in order to cause the disposition and/or removal of any remaining Rolling Stock from any
           Acquired Real Property. During the foregoing time periods, Purchaser shall permit Sellers with
           reasonable access and upon reasonable advance notice and during regular business hours to the
           Acquired Real Property to (or to permit any third party to) remove the Rolling Stock and any other
           Excluded Assets located thereon. Should Sellers authorize any third party be sent to the Acquired
           Real Property to remove the Rolling Stock or any other Excluded Assets, prior to any third party
           entering the Acquired Real Property for any purpose, such party shall deliver to Purchaser evidence
           of the following insurance coverage: (i) workers’ compensation insurance in accordance with
           applicable law, (ii) commercial general liability insurance with limits of at least Two Million Dollars

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           ($2,000,000.00) for bodily or personal injury or death, and (iii) property damage insurance in the
           amount of at least Two Million Dollars ($2,000,000.00). Sellers or any third party shall deliver to
           Purchaser evidence of all insurance coverages required to be maintained. Each insurance policy
           required to be maintained shall be written by a reputable insurance company having a rating of at
           least “A-VII” by Best’s Rating Guide (or a comparable rating by a successor rating service) and name
           Purchaser as an additional insured thereunder. Purchaser shall have the right, in its discretion, to
           accompany any third party during any entry of the Acquired Real Property or any portion thereof.
                   6.14 Access. Sellers shall use reasonable best efforts to collect all access keys, cards or
           codes, lock combinations, security codes or other entry system codes or passwords pertaining to
           physical access to each parcel of the Acquired Real Property and improvements thereon and to deliver
           the foregoing to Purchaser at the Closing, and to the extent that any of the foregoing are not located
           or delivered as of the Closing, Sellers shall continue to use reasonable best efforts to locate the
           foregoing and cooperate in all respects with Purchaser in obtaining the same or substitutes therefor.
                   6.15 Tax Elections. At the request of Purchaser, Purchaser (or any applicable Designated
           Purchaser) and applicable Seller shall, to the extent applicable, jointly make an election under
           subsection 20(24) of the Income Tax Act (Canada) and the corresponding provisions of any applicable
           Canadian provincial income tax statute, in respect of amounts for future obligations and shall timely
           file such election(s) with the appropriate Governmental Body. To the extent applicable for Canadian
           Tax purposes, such Seller and such Purchaser acknowledge that a portion of the Acquired Assets was
           transferred to such Purchaser as payment by such Seller to such Purchaser for the assumption by such
           Purchaser of any such future obligations of such Seller. Sellers and Purchaser (or any applicable
           Designated Purchaser) shall make and timely file such other elections under the Income Tax Act
           (Canada), and any other applicable Canadian provincial Tax legislation with respect to such purchase
           and sale as are reasonably requested by Purchaser.
                                                     ARTICLE VII
                                                CONDITIONS TO CLOSING
                   7.1    Conditions Precedent to the Obligations of Purchaser and Sellers. The respective
           obligations of each Party to consummate the Closing are subject to the satisfaction (or to the extent
           permitted by Law, written waiver by Sellers and Purchaser) on or prior to the Closing Date, of each
           of the following conditions:
                          (a)    the expiration or termination of any required waiting period under the HSR
           Act or any other Antitrust Law set forth in Schedule 7.1 applicable to the Transactions, Competition
           Act Approval and CTA Approval, if required, and the receipt of any required approval related to the
           Transactions under any other Antitrust Law set forth in Schedule 7.1;
                           (b)    no Governmental Body of competent jurisdiction shall have issued, enacted,
           entered, promulgated or enforced any Order (including any temporary restraining Order or
           preliminary or permanent injunction) or Law restraining, enjoining or otherwise prohibiting the
           Closing that is continuing in effect;
                          (c)     the Bankruptcy Court shall have entered the Sale Order, which shall have
           become final and non-appealable and shall not have been stayed, reversed, or modified in a manner
           not acceptable to the Parties; and
                            (d)     the Canadian Court shall have entered the Canadian Sale Recognition Order,

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           which shall have become final and non-appealable and shall not have been stayed, reversed, or
           modified in a manner not acceptable to the Parties.
                   7.2   Conditions Precedent to the Obligations of Purchaser. The obligations of Purchaser to
           consummate the Closing are subject to the satisfaction (or to the extent permitted by Law, written
           waiver by Purchaser in its sole discretion), on or prior to the Closing Date, of each of the following
           conditions:
                            (a)    (i) the representations and warranties made by Sellers in Article III (in each
           case, other than the Fundamental Representations and other than the representations and warranties
           set forth in Section 3.4) shall be true and correct in all respects as of the Closing Date as though made
           on and as of the Closing Date, except (A) that representations and warranties that are made as of a
           specified date need be true and correct in all respects only as of such date and (B) to the extent the
           failure of such representations and warranties to be true and correct as of such dates has not had a
           Material Adverse Effect and (ii) the representations and warranties set forth in Section 3.1, Section
           3.2 and Section 3.7 (collectively, the “Fundamental Representations”) shall be true and correct in all
           material respects as of the Closing Date as though made on and as of the Closing Date, except that
           such Fundamental Representations that are made as of a specified date need be true and correct in all
           material respects only as of such date;
                            (b)     the representations and warranties set forth in Section 3.4 shall be true and
           correct in all respects as of the Closing Date with respect to each parcel of the Acquired Real Property,
           provided that in the event the foregoing condition is not satisfied as of the Closing Date with respect
           to any individual parcel of Acquired Real Property, Purchaser’s sole recourse shall be, at Purchaser’s
           option, to exclude such individual parcel of Acquired Real Property from the Acquired Assets and
           proceed with the Closing with respect to any other parcels of Acquired Real Property included in the
           Acquired Assets; provided further that (Y) prior to excluding any such parcel, Purchaser shall notify
           Sellers of the failure of the foregoing condition to be satisfied, together with Purchaser’s basis
           therefor and supporting evidence thereof, and provide Sellers with reasonable opportunity to cure
           such failure and (Z) in the event that any individual parcel or parcels of Acquired Real Property are
           excluded from the Acquired Assets pursuant to the immediately preceding proviso, the Purchase Price
           shall be reduced by an amount equal to:
                                  (i)    if any individual parcel or parcels of Acquired Real Property are
                   subject to one or more Qualified Bids (as defined in the Bidding Procedures Order and as
                   may be improved upon at the Auction), the greater of (A) the value of the highest Qualified
                   Bid in the Auction pertaining to such parcel or parcels and (B) the highest value allocated to
                   such parcel or parcels in connection with a Qualified Bid in the Auction for a package of
                   Acquired Real Property that includes such parcel or parcels;
                                  (ii)    if (i) is not applicable, but the Sellers otherwise have a binding offer
                   or Contract for such parcel or parcels, the value in such binding offer or Contract;
                                   (iii)  if neither (i) nor (ii) is applicable, and solely for the purposes of this
                   proviso and the proviso to Section 8.1(e), that portion of the Purchase Price equal to the
                   product of the percentage set forth for such parcel or parcels on Schedule 7.2(b)(iii) multiplied
                   by the total Purchase Price (the “Pro Rated Amount”); or
                                    (iv)    as may otherwise be mutually agreed upon in writing between the


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                   Parties;
                          (c)    Sellers shall not have breached in a manner that is material with respect to the
           Transactions, taken as a whole, the covenants required to be performed or complied with by Sellers
           under this Agreement on or prior to Closing; and
                          (d)     Purchaser shall have received on and as of the Closing Date a certificate of an
           authorized officer of Sellers confirming that the conditions set forth Section 2.4 have been satisfied.
                             (e)    As of the Closing Date, no right of first refusal relating to any individual parcel
           or parcels of Acquired Real Property shall have been exercised, and the deadline to exercise any such
           right of first refusal shall have expired. In the event that the foregoing condition is not satisfied as of
           the Closing Date, Purchaser may elect, in its sole and absolute discretion, to exclude such individual
           parcel or parcels of Acquired Real Property from the Acquired Assets and proceed with the Closing,
           with the Purchase Price to be reduced by an amount determined pursuant to the methodology set forth
           in Section 7.2(b) hereof.
                   7.3   Conditions Precedent to the Obligations of Sellers. The obligations of Sellers to
           consummate the Closing are subject to the satisfaction (or to the extent permitted by Law, written
           waiver by Sellers in their sole discretion), on or prior to the Closing Date, of each of the following
           conditions:
                           (a)      the representations and warranties made by Purchaser in Article IV shall be
           true and correct in all material respects as of the Closing Date as though made on and as of the Closing
           Date, except that representations and warranties that are made as of a specified date need be true and
           correct in all material respects only as of such date;
                          (b)    Purchaser shall not have breached in a manner that is material with respect to
           the Transactions, taken as a whole, the covenants required to be performed or complied with by it
           under this Agreement on or prior to the Closing Date; and
                          (c)    Sellers shall have received on and as of the Closing Date a certificate of an
           authorized officer of Purchaser confirming that the conditions set forth in Section 2.5 have been
           satisfied.
                   7.4     Waiver of Conditions. Upon the occurrence of the Closing, any condition set forth in
           this Article VII that was not satisfied as of the Closing will be deemed to have been waived for all
           purposes by the Party having the benefit of such condition as of and after the Closing. None of
           Purchaser or Sellers may rely on the failure of any condition set forth in this Article VII, as applicable,
           to be satisfied if such failure was caused by such Party’s failure to perform any of its obligations
           under this Agreement, including its obligation to use its reasonable best efforts to consummate the
           Transactions as required under this Agreement.
                   7.5    Information Officer’s Certificate. When the conditions to Closing set forth in Sections
           7.1, 7.2, and 7.3 have been satisfied or waived by the Sellers and the Purchaser, as applicable, the
           Sellers and the Purchaser will each deliver to the Information Officer the certificates referred to in
           Section 7.2(d) and 7.3(c) applicable (the “Conditions Certificate”). Upon receipt of each of the
           Conditions Certificates, the Information Officer shall: (a) issue forthwith the Information Officer’s
           Certificate concurrently to the Sellers and the Purchasers, at which time the Closing in respect of the
           Acquired Assets of the Canadian Seller will be deemed to have occurred, and the Acquired Assets of

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           the Canadian Seller shall vest in and to the Purchaser; and (b) file as soon as practicable a copy of
           the Information Officer’s Certificate with the Canadian Court (and shall provide a true copy of such
           filed certificate to the Sellers and the Purchaser). The Parties hereto acknowledge and agree that the
           Information Officer shall be entitled to file the Information Officer’s Certificate with the Canadian
           Court without independent investigation upon receiving the Conditions Certificates, and the
           Information Officer will be relying exclusively on the basis of the Conditions Certificates and without
           any obligation whatsoever to verify the satisfaction or waiver of the applicable conditions and shall
           have no liability to Sellers or the Purchasers or any other Person as a result of filing the Information
           Officer’s Certificate upon receiving such Conditions Certificates.
                                                         ARTICLE VIII
                                                        TERMINATION
                  8.1     Termination of Agreement. This Agreement may be terminated at any time prior to
           the Closing only in accordance with this Section 8.1, and in no other matter:
                            (a)     by the mutual written consent of Sellers and Purchaser;
                          (b)     by written notice of either Purchaser or Sellers to the other, if there is in effect
           any Law or Order enacted or issued by a Governmental Body of competent jurisdiction that restrains,
           enjoins, declares unlawful or otherwise prohibits the consummation of the Closing or declaring
           unlawful the Transactions, and such Law or Order has become final, binding and non- appealable;
           provided that no Party may terminate this Agreement under this Section 8.1(b) if the issuance of such
           Order was sought or requested by such Party or caused by such Party’s failure to perform any of its
           obligations under this Agreement;
                           (c)     by written notice of either Purchaser or Sellers, if the Closing shall not have
           occurred on or before (i) if Purchaser is the Successful Bidder, February 28, 2024 or (ii) if Purchaser
           is the Backup Bidder and is deemed to have the new prevailing bid pursuant to Section 5.1(d), the
           date that is sixty (60) calendar days after Purchaser is so deemed to have the new prevailing bid;
           provided, however, that such applicable date in the foregoing clauses (i) and (ii) may be extended
           one time for an additional thirty (30) calendar days upon the mutual agreement of Purchaser and
           Yellow, and, if so extended, Sellers shall pay to Purchaser an extension fee equal to 0.10% of the
           Purchase Price, which may be applied as a credit towards the Purchase Price if Purchaser is the
           Successful Bidder (the “Outside Date”) (or such later date as provided in Section 10.12); provided
           that a Party shall not be permitted to terminate this Agreement pursuant to this Section 8.1(c) if the
           failure of the Closing to have occurred by the Outside Date was caused by such Party’s failure to
           perform any of its obligations under this Agreement;
                            (d)    by written notice from Sellers to Purchaser, upon a breach of any covenant or
           agreement on the part of Purchaser, or if any representation or warranty of Purchaser will have
           become untrue, in each case, such that the conditions set forth in Section 7.3(a) or 7.3(b) would not
           be satisfied, including a breach of Purchaser’s obligation to consummate the Closing; provided that
           (i) if such breach is curable by Purchaser (other than a breach or failure by Purchaser to close when
           required pursuant to Section 2.3) then Sellers may not terminate this Agreement under this Section
           8.1(d) for so long as Purchaser continues to exercise reasonable best efforts to cure such breach unless
           such breach has not been cured by the date which that the earlier of (A) two Business Days prior to
           the Outside Date and (B) 15 days after Sellers notify Purchaser of such breach and (ii) Sellers’ right
           to terminate this Agreement pursuant to this Section 8.1(d) will not be available to Sellers at any time

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           that Sellers are in material breach of, any covenant, representation or warranty hereunder;
                           (e)    by written notice from Purchaser to Sellers, upon a breach of any covenant or
           agreement on the part of Sellers, or if any representation or warranty of the Sellers will have become
           untrue, in each case, such that the conditions set forth in Section 7.2(a) or 7.2(c) would not be
           satisfied; provided that:
                                    (i)    if such breach is curable by Sellers (other than a breach or failure by
                   Sellers to close when required pursuant to Section 2.3) then Purchaser may not terminate this
                   Agreement under this Section 8.1(e) for so long as Sellers continue to exercise reasonable
                   best efforts to cure such breach unless such breach has not been cured by the date which is
                   the earlier of (A) two Business Days prior to the Outside Date and (B) 20 days after Purchaser
                   notifies Sellers of such breach;
                                   (ii)   with respect to any representation or warranty set forth in Section 3.4,
                   Purchaser shall not be entitled to terminate this Agreement, but rather shall be entitled solely
                   to exclude from the Closing any specific individual parcel of Acquired Real Property with
                   respect to which such representations or warranties are not true at the time of the Closing;
                   provided further that in the event that any individual parcel or parcels of Acquired Real
                   Property are excluded from the Acquired Assets pursuant to this clause (ii), the Purchase Price
                   shall be reduced by an amount equal to: (A) if any individual parcel or parcels of Acquired
                   Real Property are subject to one or more Qualified Bids (as defined in the Bidding Procedures
                   Order and as may be improved upon at the Auction), the greater of (I) the value of the highest
                   Qualified Bid in the Auction pertaining to such parcel or parcels and (II) the highest value
                   allocated to such parcel or parcels in connection with a Qualified Bid in the Auction for a
                   package of Acquired Real Property that includes such parcel or parcels; (B) if (A) is not
                   applicable but the Sellers otherwise have a binding offer or Contract for such parcel or
                   parcels, the value in such binding offer or Contract; (C) if neither (A) nor (B) is applicable,
                   the Pro Rated Amount, or (D) as may otherwise be mutually agreed upon in writing between
                   the Parties; and
                                  (iii)   the right to terminate this Agreement pursuant to this Section 8.1(e)
                   will not be available to Purchaser at any time that Purchaser is in material breach of, any
                   covenant, representation or warranty hereunder;
                           (f)   by written notice from Sellers to Purchaser, if all of the conditions set forth in
           Sections 7.1 and 7.2 have been satisfied (other than conditions that by their nature are to be satisfied
           at the Closing, but which conditions are capable of being satisfied) or waived and Purchaser fails to
           complete the Closing at the time required by Section 2.3;
                           (g)     by written notice from Sellers to Purchaser, if any Seller or the board of
           directors (or similar governing body) of any Seller determines that proceeding with the Transactions
           or failing to terminate this Agreement would be inconsistent with its or such Person’s or body’s
           fiduciary duties;
                          (h)    by written notice of either Purchaser or Sellers, if, prior to termination of this
           Agreement pursuant to another provision of this Section 8.1, (i) any Seller enters into one or more
           Alternative Transactions with one or more Persons other than Purchaser or the Successful Bidder or
           the Backup Bidder at the Auction or (ii) the Bankruptcy Court approves an Alternative Transaction


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           other than with the Successful Bidder or the Backup Bidder; or
                         (i)     by written notice from either Purchaser or Sellers, if Purchaser is not the
           Successful Bidder or the Backup Bidder at the Auction.
                   8.2     Effect of Termination. In the event of termination of this Agreement in accordance
           with Article VIII, this Agreement shall forthwith become null and void and no Party or any of its
           partners, officers, directors, managers or equityholders will have any Liability under this Agreement;
           provided that Section 2.2, Section 6.2(b), Section 6.6(e), Section 6.12, this Section 8.2 and Article X
           shall survive any such termination; provided further that no termination will relieve Purchaser from
           any Liability for damages, losses, costs or expenses (which the Parties acknowledge and agree shall
           not be limited to reimbursement of expenses or out-of-pocket costs, and would include the benefits
           of the Transactions lost by Sellers (taking into consideration all relevant matters, including other
           combination opportunities and the time value of money), which shall be deemed in such event to be
           damages of Sellers) resulting from any Willful Breach of this Agreement prior to the date of such
           termination (which, for the avoidance of doubt, will be deemed to include any failure by Purchaser
           to consummate the Closing if and when it is obligated to do so hereunder). Subject to Section 10.12,
           nothing in this Section 8.2 will be deemed to impair the right of any Party to be entitled to specific
           performance or other equitable remedies to enforce specifically the terms and provisions of this
           Agreement.
                                                             ARTICLE IX
                                                               TAXES
                    9.1    Transfer Taxes. Any U.S. federal, Canadian federal, state, provincial, local, municipal,
           and non-U.S. sales, consumption sales, goods and services, harmonized sales, use, excise, value
           added, registration, real property, deed, land transfer, retail sales, mutations, purchase, transfer,
           franchise, deed, fixed asset, stamp, documentary stamp, duties on the transfer of immovables or other
           Taxes and recording charges (including all related interest, penalties, and additions to any of the
           foregoing) payable by reason of the purchase or sale of the Acquired Assets or the assumption of the
           Assumed Liabilities under this Agreement or the Transactions (the “Transfer Taxes”) shall be borne
           and timely paid by Purchaser, and Purchaser shall timely file all Tax Returns related to any Transfer
           Taxes with the appropriate Taxing Authority. Purchaser or Designated Purchaser shall pay any
           Transfer Taxes to the Sellers or directly to the relevant Governmental Body as and when required
           under applicable Law. Notwithstanding the foregoing, and in accordance with subsections 221(2) and
           228(4) of the Excise Tax Act (Canada) and sections 423 and 438 of An Act respecting the Quebec
           sales tax (Quebec), Sellers shall not collect the GST/HST and, if applicable, QST with respect to the
           sale of Acquired Real Property in Canada if the Purchaser or Designated Purchaser of such Acquired
           Real Property is duly registered under the Excise Tax Act (Canada) and, if applicable, An Act
           respecting the Quebec sales tax (Quebec) on the Closing Date and, in that event, such Purchaser or
           Designated Purchaser (as applicable) shall self-assess, file GST/HST and QST returns and remit such
           GST/HST and QST to the appropriate Taxing Authority when and to the extent required by such
           legislation. Purchaser shall indemnify Sellers and the Seller Parties and hold them harmless from any
           liability under the Excise Tax Act (Canada) and An Act respecting the Quebec sales tax (Quebec)
           arising because of the breach of the obligations of the Purchaser or any Designated Purchaser in
           respect of the sale, assignment or transfer of and Acquired Real Property in Canada, set out in this
           Section 9.1 or arising under such legislation.
                   9.2     Allocation of Purchase Price. For U.S. federal and applicable state and local and

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           foreign income Tax purposes, including Canadian federal and provincial Tax purposes, Purchaser,
           Sellers, and their respective Affiliates shall allocate the Purchase Price (and any Assumed Liabilities
           or other amounts treated as part of the purchase price for U.S. federal income Tax purposes) among
           the Acquired Assets in accordance with the fair market value of the Acquired Assets (the “Allocation
           Methodology”). As soon as commercially practicable, but no later than thirty (30) days following the
           determination of the final Purchase Price, Purchaser shall provide a proposed allocation to Sellers
           setting forth the allocation of the Purchase Price (and other amounts treated as part of the purchase
           price for U.S. federal income Tax purposes) among the Acquired Assets in accordance with the
           Allocation Methodology (the “Allocation”) subject to Sellers’ review and approval (such approval
           not to be unreasonably delayed, conditioned or withheld). Purchaser shall either: (i) incorporate any
           changes reasonably requested by Sellers with respect to such Allocation; provided that Sellers’
           requested Allocation is acceptable to Purchaser; or (ii) within fifteen (15) days after Purchaser’s
           receipt of Sellers’ requested changes to the Allocation, provide written notice to Sellers that Purchaser
           objects to Sellers requested Allocation changes (the “Allocation Objection Notice”). If Purchaser
           timely delivers an Allocation Objection Notice to Sellers or alternatively, if Sellers deliver a written
           objection within thirty (30) days after receipt of the draft Allocation proposed by Purchaser, then
           Purchaser and Sellers shall negotiate in good faith to resolve any such objection, and, if Sellers and
           Purchaser cannot resolve such dispute within thirty (30) days of Purchaser’s receipt of Sellers’
           objection, then a recognized industrial real estate brokerage firm specializing in trucking real estate
           mutually acceptable to Purchaser and Sellers shall resolve such dispute, with the costs of such
           resolution to be evenly split by Purchaser, on the one hand, and Sellers, on the other hand, and the
           resolution of such dispute shall be final and binding on the Parties. The Parties and their respective
           Affiliates shall file all Tax Returns in accordance with such Allocation (as finally determined under
           this Section 9.2) and not take any Tax related action inconsistent with the Allocation, in each case,
           unless otherwise required by a “determination” within the meaning of section 1313(a) of the Tax
           Code and other applicable Law.
                    9.3     Cooperation. Purchaser and Sellers shall reasonably cooperate, as and to the extent
           reasonably requested by the other Party, in connection with the filing of Tax Returns and any Action,
           audit, litigation, or other proceeding with respect to Taxes.
                   9.4      Preparation of Tax Returns and Payment of Taxes.
                            (a)    Except as otherwise provided by Section 9.1, Sellers shall prepare and timely
           file (i) all Tax Returns with respect to the Acquired Assets for any Tax period ending on or before
           the Closing Date and (ii) all income Tax Returns of Sellers.
                           (b)    Purchaser shall prepare and timely file all Tax Returns with respect to the
           Acquired Assets for any Tax period ending after the Closing Date. With respect to any Straddle
           Period, Purchaser shall prepare such Tax Returns consistent with past practice, and shall provide
           Sellers or their successors in rights, as applicable, with a draft of such Tax Returns at least 30 days
           prior to the filing of any such Tax Return. Purchaser shall incorporate any changes reasonably
           requested by Sellers with respect to such Tax Returns. Purchaser shall be responsible for paying any
           Taxes reflected on any Tax Return that Purchaser is obligated to prepare and file under this Section
           9.4(b).
                           (c)   Purchaser shall not file any Tax Return, file an amendment to any previously-
           filed Tax Return, or otherwise take any Tax position, in each case, that has the effect of increasing
           any Tax that is payable or otherwise borne by Sellers.

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                                                         ARTICLE X
                                                      MISCELLANEOUS
                   10.1 Non-Survival of Representations and Warranties and Certain Covenants; Certain
           Waivers. Notwithstanding the foregoing or anything else contained herein or elsewhere to the
           contrary, each of the Sellers’ representations and warranties and the covenants and agreements (to
           the extent such covenant or agreement contemplates or requires performance by such Party prior to
           the Closing) of the Parties set forth in this Agreement or in any other document contemplated hereby,
           or in any certificate delivered hereunder or thereunder, will terminate effective immediately as of the
           Closing such that no claim for breach of any such representation, warranty, covenant or agreement,
           detrimental reliance or other right or remedy (whether in contract, in tort or at law or in equity) may
           be brought with respect thereto after the Closing. Each covenant and agreement that explicitly
           contemplates performance after the Closing, will, in each case and to such extent, expressly survive
           the Closing in accordance with its terms, and if no term is specified, then for five years following the
           Closing Date, and nothing in this Section 10.1 will be deemed to limit any rights or remedies of any
           Person for breach of any such surviving covenant or agreement. Purchaser and Sellers acknowledge
           and agree, on their own behalf, with respect to Purchaser, and on behalf of the Purchaser Group that
           the agreements contained in (among others) Section 6.10, Section 6.12, and this Section 10.1 require
           performance after the Closing to the maximum extent permitted by applicable Law and will survive
           the Closing for five years. Purchaser on behalf of itself and the other members of the Purchaser Group
           hereby waives all rights and remedies with respect to any environmental, health or safety matters,
           including those arising under the Comprehensive Environmental Response, Compensation and
           Liability Act of 1980, or any other Environmental Laws, relating to this Agreement or the
           Transactions.
                   10.2 Expenses. Whether or not the Closing takes place, except as otherwise provided
           herein, all fees, costs and expenses (including fees, costs and expenses of Advisors) incurred in
           connection with the negotiation of this Agreement and the other agreements contemplated hereby,
           the performance of this Agreement and the other agreements contemplated hereby and the
           consummation of the Transactions will be paid by the Party incurring such fees, costs and expenses;
           it being acknowledged and agreed that (a) all fees and expenses in connection with any filing or
           submission required under the HSR Act, the Competition Act, and the Antitrust Laws or other
           regulations set forth in Schedule 7.1 will be allocated pursuant to Section 6.3, (b) all Transfer Taxes
           will be allocated pursuant to Section 9.1 and (c) all Cure Costs will be allocated pursuant to Section
           5.2.
                   10.3 Notices. Except as otherwise expressly provided herein, all notices, demands and
           other communications to be given or delivered under or by reason of the provisions of this Agreement
           will be in writing and will be deemed to have been given (a) when personally delivered, (b) when
           transmitted by electronic mail (having obtained electronic delivery confirmation thereof) if delivered
           by 5:00 P.M. local time of the recipient on a Business Day and otherwise on the following Business
           Day, (c) the day following the day on which the same has been delivered prepaid to a reputable
           national overnight air courier service or (d) the third Business Day following the day on which the
           same is sent by certified or registered mail, postage prepaid, in each case, to the respective Party at
           the number, electronic mail address or street address, as applicable, set forth below, or at such other
           number, electronic mail address or street address as such Party may specify by written notice to the
           other Party.



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                           Notices to Purchaser:
                           GPSS Holdings, LLC c/o GreenPoint Group, LP 667 Madison Avenue, 5th Floor
                           New York, NY 10065
                       Attention:    Chris Green; Alexander Cakir
                       Email:        chris@greenpointpartners.com; alex@greenpointpartners.com



                            with a copy to (which shall not constitute notice):
                            Gibson, Dunn & Crutcher LLP
                            200 Park Avenue
                            New York, NY 10166
                                     Attention:   Jason Zachary Goldstein
                                     Email:       JGoldstein@gibsondunn.com

                            Notices to Sellers:
                            Yellow Corporation 11500 Outlook Street, Suite 400 Overland Park, Kansas 66211
                                    Attention:     Chief Financial Officer
                                                   General Counsel
                                    Email:         Dan.Olivier@myYellow.com
                                                   Leah.Dawson@myYellow.com


                            with copies to (which shall not constitute notice):


                            Kirkland & Ellis LLP 601 Lexington Avenue New York, NY 10022
                                     Attention:    Allyson Smith Steve Toth

                                       Email:           allyson.smith@kirkland.com
                                                        steve.toth@kirkl and.com
                            Goodmans LLP
                            333 Bay Street, Suite 3400
                            Toronto, ON M5H 2S7
                            Attention:   Robert J. Chadwick
                                          Caroline Descours
                            Email:       rchadwick@goodmans.ca
                                          cdescours@goodmans.ca
                    10.4    Binding Effect; Assignment.
                          (a)    This Agreement shall be binding upon Purchaser and, subject to the terms of
           the Bidding Procedures Order and the Canadian Bidding Procedures Recognition Order (in each case,
           with respect to the matters covered thereby) and the entry and terms of the Sale Order and the
           Canadian Sale Recognition Order, Sellers, and shall inure to the benefit of and be so binding on the
           Parties and their respective successors and permitted assigns, including any trustee or estate


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           representative appointed in the Bankruptcy Cases or any successor Chapter 7 cases or any trustee,
           receiver, or monitor appointed in any Canadian bankruptcy, proposal, receivership or CCAA
           proceedings in respect of any Seller, including within the Canadian Recognition Proceedings;
           provided that, subject to Section 10.4(b), neither this Agreement nor any of the rights or obligations
           hereunder may be assigned or delegated without the prior written consent of Purchaser and Yellow,
           and any attempted assignment or delegation without such prior written consent shall be null and void;
           provided further that Purchaser (subject to Purchaser remaining liable for its obligations hereunder
           in the event such obligations are not performed in accordance with their terms) may assign any of its
           rights or obligations hereunder to any of its Affiliates without the consent of any Person.
                            (b)   At any time following entry of the Sale Order and prior to the Closing,
           Purchaser shall be entitled to designate, by written notice to Sellers, one or more Affiliates to (i)
           purchase the Acquired Assets and pay the corresponding Purchase Price amount or (ii) assume the
           Assumed Liabilities (any such Affiliates that shall be designated in accordance with this clause, a
           “Designated Purchaser”). In addition, and for the avoidance of doubt, a Designated Purchaser shall
           be entitled to perform any other covenants or agreements of Purchaser under this Agreement. Further
           notwithstanding anything in this Agreement to the contrary, Purchaser in its sole discretion may, by
           written notice delivered to Sellers no later than five (5) business days prior to the Closing Date,
           designate a Designated Purchaser to take title to any Acquired Real Property. Subject to this
           paragraph, this Agreement and the provisions hereof shall be binding upon each of such parties, their
           successors and permitted assigns and Purchaser shall remain primarily liable until the transfer to any
           such Designated Purchaser and the satisfaction by such Designated Purchaser of any related
           obligations or other Liabilities hereunder.
                          (c)    Purchaser acknowledges and agrees to comply with the anti-collusion
           requirements of the Bidding Procedures Order and the Bankruptcy Code.
                   10.5 Amendment and Waiver. Except as set forth in Section 11.4, any provision of this
           Agreement or the Schedules or exhibits hereto may be (a) amended only in a writing signed by
           Purchaser and Sellers or (b) waived only in a writing executed by the Party against which enforcement
           of such waiver is sought. No waiver of any provision hereunder or any breach or default thereof will
           extend to or affect in any way any other provision or prior or subsequent breach or default.
                    10.6 Third Party Beneficiaries. Except as otherwise expressly provided herein, nothing
           expressed or referred to in this Agreement will be construed to give any Person other than (i) for
           purposes of Section 10.7, the Non-Recourse Parties, (ii) for purposes of Section 6.6(e) and Section
           6.12, the Seller Parties, and (iii) the Parties hereto and such permitted assigns, any legal or equitable
           right, remedy, or claim under or with respect to this Agreement or any provision of this Agreement.
                   10.7 Non-Recourse. This Agreement may only be enforced against, and any Action based
           upon, arising out of or related to this Agreement may only be brought against, the Persons that are
           expressly named as parties to this Agreement. Except to the extent named as a party to this
           Agreement, and then only to the extent of the specific obligations of such parties set forth in this
           Agreement, no past, present or future shareholder, member, partner, manager, director, officer,
           employee, Affiliate, agent or Advisor of any Party (each, a “Non-Recourse Party”) will have any
           Liability (whether in contract, tort, equity or otherwise) for any of the representations, warranties,
           covenants, agreements or other obligations or Liabilities of any of the parties to this Agreement or
           for any Agreement Dispute (as defined herein), and in no event shall any Party have any shared or
           vicarious liability, or otherwise be the subject of legal or equitable claims, for the actions, omissions

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           or fraud (including through equitable claims (such as unjust enrichment) not requiring proof of
           wrongdoing committed by the subject of such claims) of any other Person.
                   10.8 Severability. Whenever possible, each provision of this Agreement will be interpreted
           in such manner as to be effective and valid under applicable Law, but if any provision of this
           Agreement is held to be prohibited by or invalid under applicable Law in any jurisdiction, such
           provision will be ineffective only to the extent of such prohibition or invalidity in such jurisdiction,
           without invalidating the remainder of such provision or the remaining provisions of this Agreement
           or in any other jurisdiction.
                   10.9 Construction. The language used in this Agreement will be deemed to be the language
           chosen by the Parties to express their mutual intent, and no rule of strict construction will be applied
           against any Person. The headings of the sections and paragraphs of this Agreement have been inserted
           for convenience of reference only and will in no way restrict or otherwise modify any of the terms or
           provisions hereof.
                   10.10 Schedules. The Schedules have been arranged for purposes of convenience in
           separately numbered sections corresponding to the sections of this Agreement; provided that each
           section of the Schedules will be deemed to incorporate by reference all information disclosed in any
           other section of the Schedules, and any disclosure in the Schedules will be deemed a disclosure
           against any representation or warranty set forth in this Agreement. Capitalized terms used in the
           Schedules and not otherwise defined therein have the meanings given to them in this Agreement. The
           specification of any dollar amount or the inclusion of any item in the representations and warranties
           contained in this Agreement, the Schedules or the attached exhibits is not intended to imply that the
           amounts, or higher or lower amounts, or the items so included, or other items, are or are not required
           to be disclosed (including whether such amounts or items are required to be disclosed as material or
           threatened) or are within or outside of the Ordinary Course, and no Party will use the fact of the
           setting of the amounts or the fact of the inclusion of any item in this Agreement, the Schedules or
           exhibits in any dispute or controversy between the Parties as to whether any obligation, item or matter
           not set forth or included in this Agreement, the Schedules or exhibits is or is not required to be
           disclosed (including whether the amount or items are required to be disclosed as material or
           threatened) or are within or outside of the Ordinary Course. In addition, matters reflected in the
           Schedules are not necessarily limited to matters required by this Agreement to be reflected in the
           Schedules. Such additional matters are set forth for informational purposes only and do not
           necessarily include other matters of a similar nature. No information set forth in the Schedules will
           be deemed to broaden in any way the scope of the Parties’ representations and warranties. Any
           description of any agreement, document, instrument, plan, arrangement or other item set forth on any
           Schedule is qualified in its entirety by the terms of such agreement, document, instrument, plan,
           arrangement, or item which terms will be deemed disclosed for all purposes of this Agreement. The
           information contained in this Agreement, in the Schedules and exhibits hereto is disclosed solely for
           purposes of this Agreement, and no information contained herein or therein will be deemed to be an
           admission by any Party to any third party of any matter whatsoever, including any violation of Law
           or breach of Contract.
                    10.11 Complete Agreement. This Agreement, together with the Confidentiality Agreement
           and any other agreements expressly referred to herein or therein, contains the entire agreement of the
           Parties respecting the sale and purchase of the Acquired Assets and the Assumed Liabilities and the
           Transactions and supersedes all prior agreements among the Parties respecting the sale and purchase


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           of the Acquired Assets and the Assumed Liabilities and the Transactions. In the event an ambiguity
           or question of intent or interpretation arises with respect to this Agreement, the terms and provisions
           of the execution version of this Agreement will control and prior drafts of this Agreement and the
           documents referenced herein will not be considered or analyzed for any purpose (including in support
           of parol evidence proffered by any Person in connection with this Agreement), will be deemed not to
           provide any evidence as to the meaning of the provisions hereof or the intent of the Parties with
           respect hereto and will be deemed joint work product of the Parties.
                    10.12 Specific Performance. The Parties agree that irreparable damage, for which monetary
           relief, even if available, would not be an adequate remedy, would occur in the event that any provision
           of this Agreement is not performed in accordance with its specific terms or is otherwise breached,
           including if any of the Parties fails to take any action required of it hereunder to consummate the
           Transactions. It is accordingly agreed that (a) the Parties will be entitled to an injunction or
           injunctions, specific performance or other equitable relief to prevent breaches of this Agreement and
           to enforce specifically the terms and provisions hereof in the courts described in Section 10.13
           without proof of damages or otherwise, this being in addition to any other remedy to which they are
           entitled under this Agreement, and (b) the right of specific performance and other equitable relief is
           an integral part of the Transactions and without that right, neither Sellers nor Purchaser would have
           entered into this Agreement. The Parties acknowledge and agree that any Party pursuing an injunction
           or injunctions or other Order to prevent breaches of this Agreement and to enforce specifically the
           terms and provisions of this Agreement in accordance with this Section 10.12 will not be required to
           provide any bond or other security in connection with any such Order. The remedies available to
           Sellers pursuant to this Section 10.12 will be in addition to any other remedy to which they were
           entitled at law or in equity, and the election to pursue an injunction or specific performance will not
           restrict, impair or otherwise limit any Seller from seeking to collect or collecting damages. If, prior
           to the Outside Date, any Party brings any action, in each case in accordance with Section 10.13, to
           enforce specifically the performance of the terms and provisions hereof by any other Party, the
           Outside Date will automatically be extended (i) for the period during which such action is pending,
           plus ten Business Days or (ii) by such other time period established by the court presiding over such
           action, as the case may be. In no event will this Section 10.12 be used, alone or together with any
           other provision of this Agreement, to require any Seller to remedy any breach of any representation
           or warranty made by any Seller herein.
                   10.13 Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees that any
           Action of any kind whatsoever, including a counterclaim, cross-claim, or defense, regardless of the
           legal theory under which any Liability or obligation may be sought to be imposed, whether sounding
           in contract or in tort or under statute, or whether at law or in equity, or otherwise under any legal or
           equitable theory, that may be based upon, arising out of, or related to this Agreement or the
           negotiation, execution, or performance of this Agreement or the Transactions and any questions
           concerning the construction, interpretation, validity and enforceability of this Agreement (each, an
           “Agreement Dispute”) brought by any other Party or its successors or assigns will be brought and
           determined only in (a) the Bankruptcy Court and any federal court to which an appeal from the
           Bankruptcy Court may be validly taken or (b) if the Bankruptcy Court is unwilling or unable to hear
           such Action, in the Court of Chancery of the State of Delaware (or if such court lacks jurisdiction,
           any other state or federal court sitting in the State of Delaware) (the “Chosen Courts”), and each of
           the Parties hereby irrevocably submits to the exclusive jurisdiction of the Chosen Courts for itself
           and with respect to its property, generally and unconditionally, with regard to any Agreement
           Dispute. Each of the Parties agrees not to commence any Agreement Dispute except in the Chosen

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           Courts, other than Actions in any court of competent jurisdiction to enforce any Order, decree or
           award rendered by any Chosen Courts, and no Party will file a motion to dismiss any Agreement
           Dispute filed in a Chosen Court on any jurisdictional or venue-related grounds, including the doctrine
           offorum non-conveniens. The Parties irrevocably agree that venue would be proper in any of the
           Chosen Court, and hereby irrevocably waive any objection that any such court is an improper or
           inconvenient forum for the resolution of any Agreement Dispute. Each of the Parties further
           irrevocably and unconditionally consents to service of process in the manner provided for notices in
           Section 10.3. Nothing in this Agreement will affect the right of any Party to serve process in any
           other manner permitted by Law.
                    10.14 Governing Law; Waiver of Jury Trial.
                            (a)   Except to the extent the mandatory provisions of the Bankruptcy Code apply,
           this Agreement and any Agreement Dispute will be governed by and construed in accordance with
           the internal Laws of the State of Delaware applicable to agreements executed and performed entirely
           within such State without regards to conflicts of law principles of the State of Delaware or any other
           jurisdiction that would cause the Laws of any jurisdiction other than the State of Delaware to apply.
                       (b)   EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
           AGREEMENT DISPUTE IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES
           AND THEREFORE HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
           APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
           AGREEMENT DISPUTE. EACH OF THE PARTIES AGREES AND CONSENTS THAT ANY
           SUCH AGREEMENT DISPUTE WILL BE DECIDED BY COURT TRIAL WITHOUT A JURY
           AND THAT THE PARTIES MAY FILE AN ORIGINAL COUNTERPART OF A COPY OF THIS
           AGREEMENT WITH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF THE
           PARTIES TO THE IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY. EACH
           PARTY (I) CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS REPRESENTED,
           EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT
           OF ANY AGREEMENT DISPUTE, SEEK TO ENFORCE THE FOREGOING WAIVER AND (II)
           ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN INDUCED TO ENTER
           INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
           CERTIFICATIONS IN THIS SECTION.
                   10.15 No Right of Set-Off. Purchaser, on its own behalf and on behalf the Purchaser Group
           and its and their respective successors and permitted assigns, hereby waives any rights of set-off,
           netting, offset, recoupment or similar rights that Purchaser, any member of the Purchaser Group or
           any of its or their respective successors and permitted assigns has or may have with respect to the
           payment of the Purchase Price or any other payments to be made by Purchaser pursuant to this
           Agreement or any other document or instrument delivered by Purchaser in connection herewith.
                   10.16 Counterparts and PDF. This Agreement and any other agreements referred to herein
           or therein, and any amendments hereto or thereto, may be executed in multiple counterparts, any one
           of which need not contain the signature of more than one party hereto or thereto, but all such
           counterparts taken together will constitute one and the same instrument. Any counterpart, to the
           extent signed and delivered by means of a .PDF or other electronic transmission, will be treated in
           all manner and respects as an original Contract and will be considered to have the same binding legal
           effects as if it were the original signed version thereof delivered in person. Minor variations in the
           form of the signature page to this Agreement or any agreement or instrument contemplated hereby,

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           including footers from earlier versions of this Agreement or any such other document, will be
           disregarded in determining the effectiveness of such signature. At the request of any party or pursuant
           to any such Contract, each other party hereto or thereto will re-execute original forms thereof and
           deliver them to all other parties. No party hereto or to any such Contract will raise the use of a .PDF
           or other electronic transmission to deliver a signature or the fact that any signature or Contract was
           transmitted or communicated through the use of PDF or other electronic transmission as a defense to
           the formation of a Contract and each such party forever waives any such defense.
                    10.17 Publicity. Neither Sellers nor Purchaser shall issue any press release or public
           announcement concerning this Agreement or the Transactions without obtaining the prior written
           approval of the other Party, which approval will not be unreasonably conditioned, withheld or
           delayed, unless, in the reasonable judgment of Purchaser or Sellers, as applicable, disclosure is
           otherwise required of such Party by applicable Law, such disclosure is consistent with (and discloses
           no substantive terms of the Agreement other than those disclosed in prior permitted releases) or
           disclosure is required by the Bankruptcy Court or the Canadian Court with respect to filings to be
           made with the Bankruptcy Court or the Canadian Court in connection with this Agreement or by the
           applicable rules of any stock exchange on which Purchaser or Sellers (or their respective Affiliates)
           lists securities; provided that the Party intending to make such release shall use its reasonable efforts
           consistent with such applicable Law, Bankruptcy Court requirement, the Canadian Court
           requirement, or rule to consult with the other Party with respect to the text thereof.
                   10.18 Bulk Sales Laws. The Parties intend that pursuant to section 363(f) of the Bankruptcy
           Code and pursuant to the CCAA, the transfer of the Acquired Assets shall be free and clear of any
           Encumbrances in the Acquired Assets including any liens or claims arising out of the bulk transfer
           Laws except Permitted Encumbrances, and the Parties shall take such steps as may be necessary or
           appropriate to so provide in the Sale Order and the Canadian Sale Recognition Order. In furtherance
           of the foregoing, each Party hereby waives compliance by the Parties with the “bulk sales,” “bulk
           transfers” or similar Laws and all other similar Laws in all applicable jurisdictions in respect of the
           Transactions.
                    10.19 Fiduciary Obligations. Nothing in this Agreement, or any document related to the
           Transactions, will require any Seller or any of their respective managers, officers or members, in each
           case, in their capacity as such, to take any action, or to refrain from taking any action, to the extent
           inconsistent with their fiduciary obligations or applicable Law. For the avoidance of doubt, Sellers
           retain the right to pursue any transaction or restructuring strategy that, in Sellers’ business judgment,
           will maximize the value of their estates.
                   10.20 Sellers’ Representative. Each Party agrees that Yellow has the power and authority to
           unilaterally act on behalf of all or any of the Sellers for the purposes specified under this Agreement.
           Such power will include the power to make all decisions, actions, Consents and determinations on
           behalf of the Sellers, including to make any waiver of any Closing condition or agree to any
           amendment to this Agreement. No Seller shall have any right to object, dissent, protest or otherwise
           contest the same. Purchaser shall be entitled to rely on any action or omission taken by Yellow on
           behalf of the Sellers.
                    10.21 Condemnation and Casualty.
                           (a)     In the event of any taking or expropriation of, or if notice is given of the
           intention to take, by the exercise of the power of eminent domain or expropriation, all or substantially

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           all of any Acquired Real Property prior to the Closing Date, Purchaser shall remain obligated to
           purchase such Acquired Real Property with no reduction in the Purchase Price; provided that
           Purchaser shall have the right to participate in any Action relating thereto and the negotiation of any
           related award and shall have the right to challenge the award and pursue any other legal remedies as
           the putative acquirer of such Acquired Real Property. At the Closing, Purchaser shall be assigned all
           interest of Sellers in and to any condemnation or expropriation awards payable to Sellers, on account
           of such event, less sums that Sellers incur before the Closing Date in any condemnation proceeding.
                           (b)    If any Acquired Real Property suffers damage as a result of any casualty prior
           to the Closing Date, Purchaser shall remain obligated to purchase such Acquired Real Property with
           no reduction in the Purchase Price. At the Closing, Purchaser shall be assigned all interest of Sellers
           in and to any insurance proceeds actually received by Sellers on account of such casualty (including
           any proceeds of business interruption insurance for the period after the date of the Closing Date), less
           sums that Sellers incur before the Closing Date for the cost and expense of the repair of any of the
           damage that Sellers may elect, in their sole discretion, to undertake or in pursuing the collection of
           any such insurance proceeds.
                   10.22 Prevailing Party. If any litigation or other court action, arbitration or similar
           adjudicatory proceeding is sought, taken, instituted or brought by Sellers or Purchaser to enforce its
           rights under this Agreement, all fees, costs and expenses, including, without limitation, reasonable
           attorneys’ fees and court costs, of the prevailing party in such action, suit or proceeding shall be borne
           by the party against whose interest the judgment or decision is rendered. This Section shall survive
           the termination of this Agreement and the Closing. Sellers agree that any amounts awarded to
           Purchaser pursuant to this section shall be payable as administrative expenses pursuant to section
           503(b)(1)(A) of the Bankruptcy Code.
                                              ARTICLE XI
                           ADDITIONAL DEFINITIONS AND INTERPRETIVE MATTERS
                    11.1   Certain Definitions.
                          (a)    “Action” means any action, complaint, suit, litigation, arbitration, third- party
           mediation, audit, or proceeding (including any civil, criminal, administrative, investigative or
           appellate proceeding), whether sounding in contract or tort, or whether at law or in equity, or
           otherwise under any legal or equitable theory, commenced, brought, conducted or heard by or before
           any Governmental Body.
                            (b)    “Advisors” means, with respect to any Person as of any relevant time, any
           directors, officers, employees, investment bankers, financial advisors, accountants, agents, attorneys,
           consultants, or other representatives of such Person.
                           (c)    “Affiliate” means, with respect to any Person, any other Person that, directly
           or indirectly through one or more intermediaries, controls, or is controlled by, or is under common
           control with, such Person, and the term “control” (including the terms “controlled by” and “under
           common control with”) means the possession, directly or indirectly, of the power to direct or cause
           the direction of the management, affairs and policies of such Person, whether through ownership of
           voting securities, by Contract or otherwise.
                          (d)    “Alternative Transaction” means any transaction (or series of transactions),
           whether direct or indirect, whereby any Person or group of Persons (other than Purchaser and its

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           Affiliates) acquires a material portion of the Acquired Assets and Liabilities of Sellers on a
           consolidated basis, in each case whether by merger, sale of assets or equity, recapitalization, plan of
           reorganization or otherwise. For the avoidance of doubt, the acquisition of one or more individual
           parcels of Acquired Real Property (by any Person other than by Purchaser and its Affiliates) shall
           constitute an Alternative Transaction. Notwithstanding the foregoing, a liquidation or wind-down of
           Sellers’ estates shall not be an Alternative Transaction.
                          (e)     “Antitrust Law” means the Sherman Antitrust Act, the Clayton Antitrust Act,
           the HSR Act, the Federal Trade Commission Act, the Competition Act, the Canada Transportation
           Act, and all other Laws, in any jurisdiction, whether domestic or foreign, in each case that are
           designed or intended to (i) prohibit, restrict or regulate actions having the purpose or effect of
           monopolization or restraint of trade or lessening of competition, or the creation or strengthening of a
           dominant position through merger or acquisition, or (ii) restrict, govern, control or regulate foreign
           investment or participation, including CFIUS, foreign direction investment (FDI), and similar Laws.
                         (f)    “ARC” means an advance ruling certificate issued by the Commissioner of
           Competition pursuant to subsection 102(1) of the Competition Act.
                         (g)        “Auction” shall have the meaning ascribed to such term in the Bidding
           Procedures Order.
                          (h)    “Business Day” means any day other than a Saturday, Sunday or other day on
           which banks in New York City, New York, Toronto, Ontario, or Montreal, Quebec are authorized or
           required by Law to be closed.
                         (i)   “Canadian Bidding Procedures Recognition Order” means an Order of the
           Canadian Court pursuant to the CCAA recognizing and giving effect in Canada to the Bidding
           Procedures Order.
                           (j)  “Canadian Sale Recognition Order” means an Order of the Canadian Court
           pursuant to the CCAA, among other things, recognizing and giving effect in Canada to the Sale Order.
                         (k)     “Canadian Seller” means the YRC Freight Canada Company, a company
           organized under the laws of the province of Nova Scotia.
                          (l)    “Commissioner of Competition” means the Commissioner of Competition
           appointed pursuant to Subsection 7(1) of the Competition Act or his designee.
                            (m)     “Competition Act” means the Competition Act (Canada).
                          (n)     “Competition Act Approval” means, in respect of the transactions
           contemplated by this Agreement, the occurrence of one or more of the following: (i) the issuance of
           an ARC that has not been rescinded, or (ii) both of (A) the receipt of a No Action Letter, and (B) the
           expiry, waiver or termination of any applicable waiting periods under section 123 of the Competition
           Act.
                           (o)   “Confidentiality Agreement” means that certain Confidentiality Agreement,
           dated July 27, 2023, entered into between Purchaser and Yellow.
                           (p)   “Consent” means any approval, consent, ratification, permission, waiver or
           authorization, or an Order of the Bankruptcy Court or of the Canadian Court that deems or renders

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           unnecessary the same.
                           (q)    “Contract” means any written contract, indenture, note, bond, lease, sublease,
           mortgage, agreement, guarantee, or other agreement that is legally binding upon a Person or its
           property, in each case, other than a purchase order, service order, or sales order.
                            (r)    “COVID-19” means SARS-CoV-2 or COVID-19, and any evolutions thereof
           or related or associated epidemics, pandemic or disease outbreaks.
                          (s)     “COVID-19 Measures” means any measures taken to comply with any
           quarantine, “shelter in place,” “stay at home,” workforce reduction, social distancing, shut down,
           closure, sequester or any other Law, Order, directive, guidelines or recommendations by any
           Governmental Body in connection with or in response to COVID-19, including, but not limited to,
           the Coronavirus Aid, Relief, and Economic Security Act (CARES).
                            (t)     “CTA” means the Canada Transport Act (Canada).
                           (u)    “CTA Approval” means the notification shall have been provided to the
           Minister of Transport pursuant to Section 53.1(1) of the CTA and: (a) the Minister of Transport has
           given notice to Purchaser pursuant to Section 53.1(4) of the CTA of his opinion that the notified
           transactions do not raise issues with respect to the public interest as it relates to national
           transportation; or (b) the Governor in Council has approved the notified transactions pursuant to
           Section 53.2(7) of the CTA.
                           (v)      “Documents” means all of Sellers’ written files, documents, instruments,
           papers, books, reports, records, tapes, microfilms, photographs, letters, budgets, forecasts, plans,
           operating records, safety and environmental reports, data, studies, and documents, Tax Returns,
           ledgers, journals, title policies, customer lists, regulatory filings, operating data and plans, research
           material, technical documentation (design specifications, engineering information, test results, logic
           manuals, processes, flow charts, etc.), user documentation (installation guides, user manuals, training
           materials, release notes, working papers, etc.), marketing documentation (sales brochures, flyers,
           pamphlets, web pages, etc.), and other similar materials, in each case whether or not in electronic
           form.
                            (w) “Employment Liability” shall mean any claim or Liability asserted against any
           Seller or its property under any Law (or common law) arising from or relating to the former, current
           or future employment of a Person by a Seller, whether pursuant to a contract, labor agreement, at-
           will arrangement or otherwise, as well as any claim asserting healthcare, pension, or other
           employment related benefits, whether asserted by an employee or former employee, a retiree or future
           retiree, any of the aforementioned Person’s agent, assigns, custodians, heirs, or representatives, a
           collective bargaining unit or union, any pension and/or retirement fund, or any other agent thereof.
                            (x)   “Encumbrance” means any lien (as defined in section 101(37) of the
           Bankruptcy Code), encumbrance, claim (as defined in section 101(5) of the Bankruptcy Code),
           Liability, charge, mortgage, deed of trust, option, pledge, security interest or similar interests, title
           defects, hypothecations, easements, rights of way, encroachments, Orders, conditional sale or other
           title retention agreements, special right pursuant to any Canadian provincial or federal lien acts, and
           other similar impositions, imperfections or defects of title or restrictions on transfer or use.
                            (y)     “Environmental Laws” means all Laws concerning pollution, worker health

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           and safety (solely to the extent relating to exposure of any natural Person to Hazardous Materials),
           or protection of the environment as enacted and in effect as of the date hereof.
                           (z)     “Equity Interests” means, with respect to a Person, any membership interests,
           partnership interests, profits interests, capital stock or other equity securities (including
           profit participation features or equity appreciation rights, phantom stock rights or other similar rights)
           or ownership interests of such Person, or any securities (including debt securities or other
           indebtedness) exercisable or exchangeable for or convertible into, or other rights to acquire,
           membership interests, partnership interests, capital stock or other equity securities or ownership
           interests of such Person (or otherwise constituting an investment in such Person).
                           (aa) “GAAP” means United States generally accepted accounting principles as
           in effect from time to time.
                         (bb) “Governmental Authorization” means any Permit, license, certificate, approval,
           consent, permission, clearance, designation, qualification or authorization issued, granted, given or
           otherwise made available by or under the authority of any Governmental Body or pursuant to any
           Law.
                           (cc) “Governmental Body” means any government, quasi-governmental entity, or
           other governmental or regulatory body, agency or political subdivision thereof of any nature, whether
           foreign, federal, provincial, territorial, state or local, or any agency, branch, department, official,
           entity, instrumentality or authority thereof, or any court of applicable jurisdiction.
                         (dd) “GST/HST” means goods and services tax and harmonized sales tax
           imposed under Part IX under the Excise Tax Act (Canada).
                          (ee) “Hazardous Material” means any material or substance that is defined as
           “hazardous”, “toxic”, a “contaminant”, a “pollutant” or words of similar meaning under
           Environmental Laws or otherwise regulated under Environmental Laws due to its dangerous or
           deleterious properties or characteristics, including petroleum products or byproducts, friable asbestos
           or polychlorinated biphenyls.
                          (ff) “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of
           1976 and the rules and regulations promulgated thereunder.
                          (gg) “Information Officer” means Alvarez & Marsal Canada Inc. in its capacity
           as court-appointed Information Officer in the Canadian Recognition Proceedings.
                          (hh) “Information Officer’s Certificate” means the certificate of the Information
           Officer substantially in the form attached to the Canadian Sale Recognition Order.
                          (ii)   “IRS” means the Internal Revenue Service and any Governmental Body
           succeeding to the functions thereof.
                          (jj) “Knowledge of Seller”, “Knowledge of Sellers”, or words of like import means
           the actual knowledge of each of Darren Hawkins (CEO), Derrel Harris (President), Dan Olivier
           (CFO), and Ruben Byerley (Manager - Environmental Services) after reasonable inquiry of their
           applicable reports, without personal liability on the part of any of them.


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                          (kk) “Law” means any federal, national, state, provincial, territorial, county,
           municipal, provincial, local, foreign or multinational, statute, constitution, common law, ordinance,
           code, decree, Order, rule, regulation, or requirement issued, enacted, adopted, promulgated,
           implemented or otherwise put into effect by or under the authority of any Governmental Body of
           competent jurisdiction.
                           (ll) “Liability” means, as to any Person, any debt, adverse claim, liability, duty,
           responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure, charge, fee,
           penalty, fine, contribution, or premium of any kind or nature whatsoever, whether known or
           unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued,
           liquidated or unliquidated, or due or to become due, and regardless of when sustained, incurred or
           asserted or when the relevant events occurred or circumstances existed.
                            (mm) “Material Adverse Effect” means any matter, event, change, development,
           occurrence, circumstance or effect (each, an “Effect”) that has a material adverse effect on the
           Acquired Assets and Assumed Liabilities, taken as whole; provided that none of the following (or
           consequences thereof), either alone or in combination, shall constitute, or be taken into account in
           determining whether or not there has been, a Material Adverse Effect: (i) any Effect in, arising from
           or relating to general business or economic conditions affecting the industry in which Sellers and
           their Subsidiaries operate or their respective business is conducted, including Effects arising from or
           relating to competition or ordinary course matters and other Effects within such industry, new
           entrants into such industry, new products from other participants in such industry, changes in product
           pricing due to such competition, changes in market share or financial results due to such competition,
           and other related changes resulting from such competition; (ii) Effects in, arising from or relating to
           national or international political or social conditions, including tariffs, riots, protests, the engagement
           by the United States or other countries in hostilities or the escalation thereof, whether or not pursuant
           to the declaration of a national emergency or war, or the occurrence or the escalation of any military,
           cyber or terrorist (whether or not state-sponsored) attack upon the United States or any other country,
           or any of its territories, possessions, or diplomatic or consular offices or upon any military
           installation, asset, equipment or personnel of the United States or of any other country; (iii) Effects
           in, arising from or relating to any fire, flood, hurricane, earthquake, tornado, windstorm, other
           calamity or act of God, global or national health concern, epidemic, pandemic (whether or not
           declared as such by any Governmental Body), viral outbreak (including COVID-19 or the worsening
           thereof) or any quarantine or trade restrictions related thereto or any other force majeure; (iv) Effects
           in, arising from or relating to the decline or rise in price of any currency or any equipment or supplies
           necessary to or used in the provision of services by Sellers or their Subsidiaries (including any
           resulting inability to meet customer demands or fulfill purchase orders and any resulting breaches of
           Contracts); (v) Effects in, arising from, or relating to financial, banking, or securities markets
           (including (A) any disruption of any of the foregoing markets, (B) any change in currency exchange
           rates, (C) any decline or rise in the price of any security, commodity, Contract, or index, and (D) any
           increased cost, or decreased availability, of capital or pricing or terms related to any financing for the
           Transactions); (vi) Effects in, arising from or relating to changes in, GAAP or the interpretation
           thereof; (vii) Effects in, arising from or relating to changes in, Laws or other binding directives or
           determinations issued or made by or agreements with or consents of any Governmental Body
           (including, any such items related to Section 6.4) and any increase (or decrease) in the terms or
           enforcement of (or negotiations or disputes with respect to) any of the foregoing; (viii ) Effects in,
           arising from or relating to (A) the taking of any action permitted or contemplated by this Agreement
           or at the request of Purchaser or its Affiliates, (B) the failure to take any action if such action is

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           prohibited by this Agreement, (C) the compliance by an Party with the terms of this Agreement,
           including any action taken or refrained from being taken pursuant to or in accordance with this
           Agreement, or (D) the negotiation, announcement, or pendency of this Agreement or the
           Transactions, the identity, nature, or ownership of Purchaser or Purchaser’s plans with respect to the
           Acquired Assets and Assumed Liabilities, including the impact thereof on the relationships,
           contractual or otherwise, of the business of Sellers or their Subsidiaries with employees, customers,
           lessors, suppliers, vendors, or other commercial partners or litigation arising from or relating to this
           Agreement or the Transactions; (ix) Effects in, arising from, or relating to any existing event,
           occurrence or circumstance that is publicly known or disclosed or with respect to which Purchaser
           has knowledge as of the date hereof, including any matter set forth in the Schedules; (x) Effects in,
           arising from or relating to any action required to be taken under any existing Contract to which Sellers
           or their Subsidiaries (or any of their assets or properties) is bound; (xi) Effects that arise from any
           seasonal fluctuations in the business of the Sellers or their Subsidiaries; (xii) any failure, in and of
           itself, to achieve any budgets, projections, forecasts, estimates, plans, predictions, performance
           metrics or operating statistics or the inputs into such items (whether or not shared with Purchaser or
           its Affiliates or Advisors) and any other failure to win or maintain customers or business; (xiii) the
           Effect of any action taken by Purchaser or its Affiliates with respect to the Transactions or the
           financing thereof or any breach by Purchaser of this Agreement; (xiv) the matters set forth on the
           Schedules and any changes or developments in, or Effects or results arising from or relating to,
           matters set forth on the Schedules; or (xv) (A) the commencement or pendency of the Bankruptcy
           Cases or the Canadian Recognition Proceedings; (B) any objections in the Bankruptcy Court or the
           Canadian Court, as applicable, to (1) this Agreement or any of the Transactions, (2) the Sale Order,
           the Canadian Sale Recognition Order, or the reorganization or liquidation of Sellers or (3) the
           assumption or rejection of any Assigned Contract; or (C) any Order of the Bankruptcy Court, any
           Order of the Canadian Court, or any actions or omissions of Sellers in compliance therewith; provided
           that any adverse Effects resulting or arising from the matters described in clauses (i) through (vii)
           may be taken into account in determining whether there has been a Material Adverse Effect to the
           extent, and only to the extent, that they have a materially disproportionate adverse effect on the Sellers
           in the aggregate relative to similarly situated participants in the industries and geographic areas in
           which the Sellers operate (in which case only such incremental materially disproportionate adverse
           effect may be taken into account in determining whether there has been a Material Adverse Effect).
                         (nn) “No Action Letter” means written confirmation from the Commissioner of
           Competition that he does not, at that time, intend to make an application under Section 9.2 of the
           Competition Act.
                           (oo) “Order” means any order, injunction, judgment, decree, ruling, writ, assessment
           or arbitration award of a Governmental Body of competent jurisdiction, including any order entered
           by the Bankruptcy Court in the Bankruptcy Cases (including the Sale Order) and any order entered
           by the Canadian Court in the Canadian Recognition Proceedings (including the Canadian Sale
           Recognition Order).
                          (pp) “Ordinary Course” means the ordinary and usual course of operations of the
           business conducted by Sellers or their Subsidiaries, taking into account the contemplation,
           commencement and pendency of the Bankruptcy Cases and the Canadian Recognition Proceedings
           and past practice in light of the current pandemic, epidemic or disease outbreak (including COVID-
           19); provided that any action taken, or omitted to be taken, that relates to, or arises out of, any
           pandemic, epidemic or disease outbreak (including COVID-19) shall be deemed to be in the ordinary


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           course of business.
                          (qq) “Organizational Documents” means, with respect to any Person other than a
           natural person, the documents by which such Person was organized (such as a certificate of
           incorporation, certificate of formation, certificate of limited partnership or articles of organization,
           and including any certificates of designation for preferred stock or other forms of preferred equity)
           or which relate to the internal governance of such Person (such as bylaws, a partnership agreement
           or an operating, limited liability or members agreement).
                          (rr) “Owned Real Property” means all land, together with all buildings, structures,
           improvements and fixtures located thereon, and all easements and other rights and interests
           appurtenant thereto, currently owned by a Seller.
                           (ss) “Permits” means all licenses, permits, registrations, certifications, agreements,
           authorizations, Orders, certificates, qualifications, waivers, approvals, permissions, authorizations,
           and exemptions pending with or issued by Governmental Bodies, in each case, that is material to
           Seller and its Subsidiaries, taken as a whole.
                           (tt) “Permitted Encumbrances” means (i) Encumbrances for utilities and Taxes not
           yet due and payable, being contested in good faith, or the nonpayment of which is permitted or
           required by the Bankruptcy Code, (ii) easements, servitudes, rights of way, conditions, restrictive
           covenants, encroachments and similar non-monetary encumbrances or non-monetary impediments
           against any of the Acquired Assets which do not, individually or in the aggregate, adversely affect
           the operation in the ordinary course of the Acquired Assets, (iii) applicable zoning Laws, building
           codes, land use restrictions or Laws, Environmental Laws and other similar restrictions imposed by
           Law or by any Governmental Body having jurisdiction over such Acquired Real Property which are
           not violated by the current use or occupancy of such Acquired Real Property, as applicable, (iv)
           customary liens, rights and remedies of lessors, lessees, sublessors, sublessees, licensors or licensees
           arising under Assigned Contracts, (v) non-monetary Encumbrances in respect of all matters set forth
           on title insurance policies, opinions or surveys made available to Purchaser Group as of the date of
           this Agreement; (vi) only with respect to such Acquired Real Property located in Canada, any
           Encumbrances that are disclosed by registered or recorded title to each Acquired Real Property, as of
           the date of this Agreement and that will not be removed or released by operation of the Sale Order;
           (vii) any Encumbrances set forth on Schedule 11.1(xx), and (viii) solely prior to Closing, any
           Encumbrances that will be removed or released by operation of the Sale Order.
                           (uu) “Permitted Exception” means each of the following: (i) as contemplated by this
           Agreement (including the Schedules) or the Bidding Procedures Order (including the Auction), (ii)
           as set forth on Schedule 6.1, (iii) to the extent related to the Bankruptcy Cases or the Canadian
           Recognition Proceedings, (iv) as required by applicable Law, Order or a Governmental Body (v) for
           limitations imposed by the Debtors’ debtor-in-possession financing or use of cash collateral, (vi) as
           Sellers determine, in their reasonable judgment, may be necessary or desirable in light of COVID-19
           (including to comply with or as a response to any COVID-19 Measures) or (vii) as consented to in
           writing by Purchaser (such consent not to be unreasonably withheld, delayed or conditioned, and
           failure to respond within five (5) Business Days of a request for consent shall be deemed to be
           consent).
                         (vv) “Person” means an individual, corporation, partnership, limited liability
           company, joint venture, association, trust, unincorporated organization, organization, estate, third

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           party, Governmental Body or other entity or group.
                          (ww) “Purchaser Group” means, with respect to Purchaser, Purchaser, any Designated
           Purchaser, any Affiliate of Purchaser or a Designated Purchaser, and each of their respective former,
           current or future Affiliates, officers, directors, employees, partners, members, managers, agents,
           Advisors, successors or permitted assigns.
                          (xx) “QST” means the Quebec sales tax imposed under An Act respecting the
           Quebec sales tax (Quebec).
                          (yy) “Sale Order” means an Order of the Bankruptcy Court approving the
           Transactions, in form and substance (with respect to the provisions of such Sale Order applicable to
           the Acquired Assets only) reasonably acceptable to each of the Parties.
                         (zz) “Securities Act” means the Securities Act of 1933 and the rules and regulations
           promulgated thereunder.
                           (aaa) “Seller Parties” means each Seller and its former, current, or future Affiliates,
           officers, directors, employees, partners, members, equityholders, controlling or controlled Persons,
           managers, agents, Advisors, successors or permitted assigns.
                         (bbb) “Straddle Period” means any taxable period that includes but does not end on
           the Closing Date.
                          (ccc) “Subsidiary” or “Subsidiaries” means, with respect to any Person, any
           corporation, limited liability company or other entity of which a majority of the total voting power
           of shares of stock or other Equity Interests entitled (without regard to the occurrence of any
           contingency) to vote in the election of directors, managers or trustees or other governing body or
           Person thereof is at the time owned or controlled, directly or indirectly, by such Person or one or
           more of the other Subsidiaries of such Person or a combination thereof or any partnership, association
           or other business entity of which a majority of the partnership or other similar ownership interest is
           at the time owned or controlled, directly or indirectly, by such Person or one or more Subsidiaries of
           such Person or a combination thereof.
                           (ddd) “Tax” or “Taxes”means all U.S. federal, Canadian federal, state, provincial,
           local, municipal, or non-U. S. taxes including any net income, gross receipts, capital stock, franchise,
           profits, ad valorem, value added, levies, duties, fees, imposts, import, export, withholding, non-
           resident, social security, governmental pension, employment insurance, unemployment, disability,
           workers compensation, real property, personal property, business, development, occupancy, stamp,
           excise, occupation, consumption sales, use, goods and services, harmonized sales, transfer, land
           transfer, duties on the transfer of immovables, conveyance, service, registration, premium, windfall
           or         excess          profits,        customs,         duties,        licensing,           surplus,




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           alternative minimum, estimated, or other similar tax, including any interest, penalty, fines or addition
           thereto.
                                (eee) “Tax Code” means the United States Internal Revenue Code of 1986, as
           amended.
                           (fff) “Tax Return” means any return, report or similar filing (including the attached
           schedules) filed or required to be filed with respect to Taxes, including any information return, claim
           for refund, or amended return.
                          (ggg) “Taxing Authority” means any U.S. federal, Canadian federal, state, provincial,
           local, municipal, or foreign government, any subdivision, agency, commission or authority thereof
           or any quasi-governmental body exercising Tax regulatory authority.
                          (hhh) “Transaction Agreements” means this Agreement and any other agreements,
           instruments or documents entered into pursuant to this Agreement.
                          (iii) “Transactions” means the transactions contemplated by this Agreement and the
           other Transaction Agreements.
                          (jjj) “Willful Breach” shall mean a deliberate act or a deliberate failure to act
           regardless of whether breaching was the conscious object of the act or failure to act.
                     11.2 Index of Defined Terms.

            Acquired Assets...........................................2              Closing Date Payment .................................6
            Acquired Real Property ...............................2                  Closing Escrow............................................7
            Agreement ...................................................1           Closing Statement .....................................11
            Agreement Dispute....................................44                  Closing-Related Costs ...............................10
            Allocation ..................................................38          Conditions Certificate .............................. 34
            Allocation Methodology............................38                     Cure Costs ................................................. 3
            Allocation Objection Notice......................38                      Dataroom ...................................................14
            Assigned Contracts .................................... 2                Debtors ........................................................1
            Assignment and Assumption Agreement.... 8                                Deposit ....................................................... 6
            Assumed Liabilities.....................................3                Designated Purchaser ............................... 41
            Backup Bidder ...........................................19              Disputed Amounts.....................................11
            Bankruptcy Cases........................................1                DOJ............................................................23
            Bankruptcy Code.........................................1                Effect ........................................................ 51
            Bankruptcy Court ........................................1               Enforceability Exceptions..........................12
            Bidding Procedures Order...........................1                     Environmental Liabilities ........................... 3
            Canadian Court ...........................................1              Escrow Agent ..............................................6
            Canadian Recognition Proceedings ............1                           Excluded Assets ......................................... 2
            Cash Payment..............................................5              Excluded Liabilities.....................................4
            CCAA ........................................................ 1          Express Representations ............................14
            Chosen Courts ......................................... 44               Foreign Representative................................1
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            Closing Date ................................................7           Fundamental Representations....................33




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            Information Presentation ...........................14                     Schedules...................................................12
            Non-Recourse Party...................................42                    Seller ...........................................................1
            Outside Date..............................................35               Seller Broker .............................................14
            Parties ..........................................................1        Seller Support Obligations ........................29
            Party ............................................................1        Sellers..........................................................1
            Petition Date................................................1             Bidder Approval Date................................17
            Pro-Rated Amount.....................................33                    Specified Uses ...........................................16
            Prorations.....................................................9           Successful Bidder......................................19
            Purchase Price .............................................5              Title Company .............................................7
            Purchaser .....................................................1           Transfer Taxes ...........................................37
            Rolling Stock.............................................31               Yellow .........................................................1
                  11.3 Rules of Interpretation. Unless otherwise expressly provided in this Agreement, the
           following will apply to this Agreement, the Schedules and any other certificate, instrument,
           agreement or other document contemplated hereby or delivered hereunder.
                          (a)    The terms “hereof,” “herein” and “hereunder” and terms of similar import are
           references to this Agreement as a whole and not to any particular provision of this Agreement.
           Section, clause, Schedule and exhibit references contained in this Agreement are references to
           sections, clauses, Schedules and exhibits in or to this Agreement, unless otherwise specified. All
           Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated in and made a
           part of this Agreement as if set forth in full herein. Any capitalized terms used in any Schedule or
           Exhibit but not otherwise defined therein shall be defined as set forth in this Agreement.
                           (b)     Whenever the words “include,” “includes” or “including” are used in this
           Agreement, they will be deemed to be followed by the words “without limitation.” Where the context
           permits, the use of the term “or” will be equivalent to the use of the term “and/or.”
                                 (c)        The words “to the extent” shall mean “the degree by which” and not simply
           “if.”
                           (d)    When calculating the period of time before which, within which or following
           which any act is to be done or step taken pursuant to this Agreement, the date that is the reference
           date in calculating such period will be excluded. If the last day of such period is a day other than a
           Business Day, the period in question will end on the next succeeding Business Day.
                           (e)  Words denoting any gender will include all genders, including the neutral
           gender. Where a word is defined herein, references to the singular will include references to the plural
           and vice versa.
                          (f)   The word “will” will be construed to have the same meaning and effect as the
           word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and “may” is permissive.
                          (g)    All references to “$” and dollars will be deemed to refer to United States
           currency unless otherwise specifically provided.
                                 (h)        All references to a day or days will be deemed to refer to a calendar day or




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           calendar days, as applicable, unless otherwise specifically provided.1
                           (i)    Any document or item will be deemed “delivered,” “provided” or “made
           available” by Sellers, within the meaning of this Agreement if such document or item is (i) included
           in the Dataroom, (ii) actually delivered or provided to Purchaser or any of Purchaser’s Advisors or
           (iii) made available upon request, including at Sellers’ offices.
                         (j)    Any reference to any agreement or Contract will be a reference to such
           agreement or Contract, as amended, modified, supplemented or waived.
                            (k)   Any reference to any particular Bankruptcy Code or Tax Code section or any
           Law will be interpreted to include any amendment to, revision of or successor to that section or Law
           regardless of how it is numbered or classified; provided that, for the purposes of the representations
           and warranties set forth herein, with respect to any violation of or non-compliance with, or alleged
           violation of or non-compliance, with any Bankruptcy Code or Tax Code section or Law, the reference
           to such Bankruptcy Code or Tax Code section or Law means such Bankruptcy Code or Tax Code
           section or Law as in effect at the time of such violation or non-compliance or alleged violation or
           non-compliance.
                           (l)    A reference to any Party to this Agreement or any other agreement or
           document shall include such Party’s successors and assigns, but only if such successors and assigns
           are not prohibited by this Agreement.
                          (m) A reference to a Person in a particular capacity excludes such Person in any
           other capacity or individually.



                                                    [Signature pages follow.]




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                     IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by
            their respective duly authorized officers as of the date first above written.

                                                             PURCHASER:
                                                             GPSS HOLDINGS, LLC



                                                             By:
                                                             Name: Alex Cakir
                                                             Title: General Partner




                                         [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]
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                                                             SELLERS

                                                             YELLOW CORPORATION

                                                             By:                                       _
                                                             Name: Daniel L. Olivier
                                                             Title: Chief Financial Officer



                                                             NEW PENN MOTOR EXPRESS LLC

                                                             By:     ____________________________________
                                                             Name: Anthony Carreño
                                                             Title: Manager


                                                             USF HOLLAND LLC

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury



                                                             USF REDDAWAY INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC FREIGHT CANADA COMPANY

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury




                                         [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]
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                                                             SELLERS

                                                             YELLOW CORPORATION

                                                             By:                                       _
                                                             Name: Daniel L. Olivier
                                                             Title: Chief Financial Officer



                                                             NEW PENN MOTOR EXPRESS LLC

                                                             By:     ____________________________________
                                                             Name: Anthony Carreño
                                                             Title: Manager


                                                             USF HOLLAND LLC

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury



                                                             USF REDDAWAY INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC FREIGHT CANADA COMPANY

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury




                                         [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]
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                                                             EXHIBIT A
                            FORM OF ASSIGNMENT AND ASSUMPTION AGREEMENT
                                                             See attached.




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                                    ASSIGNMENT AND ASSUMPTION AGREEMENT

                    THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”) dated as
            of [●], by and between [●], an [●] (the “Assignor”), and [●], a [●] (“Assignee”). Each capitalized
            term used, but not otherwise defined herein, shall have the meaning ascribed to such terms in the
            APA.

                                                         WITNESSETH:

                    WHEREAS, the Assignor and Assignee are parties to that certain Asset Purchase
            Agreement dated as of [●], by and among Assignor, Assignee and certain other parties named
            therein (the “APA”); and

                    WHEREAS, pursuant to the APA, the Assignor has agreed to assign, and Assignee has
            agreed to assume, all of the Assignor’s right, title and interest in and to, and certain obligations
            under, the Assigned Contracts as set forth on Exhibit A attached hereto, all on the terms and
            subject to the conditions set forth in the APA.

                    NOW, THEREFORE, in consideration of the premises herein contained and other good
            and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
            parties agree as follows:

                    1.     The Assignor hereby irrevocably, fully, and unconditionally grants, transfers, sets
            over, conveys and assigns to Assignee all property all right, title and interest of the Assignor as
            tenant of the Assigned Contracts.

                   2.      Assignee hereby accepts the foregoing assignment of the Assigned Contracts from
            and after the date hereof, and assumes the obligations thereunder first arising from and after the
            date hereof.

                    3.      The Assignor agrees to indemnify, protect, hold harmless and, if requested by
            Assignee in Assignee’s sole discretion, defend (with counsel of Assignee’s choosing) Assignee,
            its successors and assigns, from any and all losses, costs, or liabilities to the extent arising out of
            or in connection with the Assigned Contracts existing or occurring before the Closing.

                    4.      Assignee agrees to indemnify, protect, hold harmless and, if requested by the
            Assignor in Assignor’s sole discretion, defend (with counsel of Assignor’s choosing) the
            Assignor, its successors and assigns, from any and all losses, costs, or liabilities to the extent
            arising out of or in connection with the Assigned Contracts first existing or occurring on and
            after the Closing.

                    5.      This Agreement and the obligations of the parties hereunder shall survive the
            closing of the transactions referred to in the APA and shall be binding upon and inure to the
            benefit of the parties hereto, their respective legal representatives, successors and assigns.

                    6.     This Agreement may be executed in counterparts (including by means of email in
            .pdf format), each of which shall be deemed an original, and all of which together shall constitute
            one and the same instrument, and shall become effective when two or more such counterparts
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            have been signed by each of the parties hereto and delivered to the other party (it being
            understood that all parties need not sign the same counterpart).

                   7.      If any action or proceeding is commenced by either party to enforce its rights
            under this Agreement, the substantially prevailing party in such action or proceeding shall be
            awarded all reasonable costs and expenses incurred in such action or proceeding, including
            reasonable attorneys’ fees and costs (including the cost of in-house counsel and appeals), in
            addition to any other relief awarded by the court.

                    8.       This Agreement, and all claims, disputes or causes of action (whether in contract
            or in tort, at law or in equity or otherwise) that may be based upon, arise out of or relate to this
            Agreement or the negotiation, execution, performance or enforcement of this Agreement, shall
            be governed by and construed in accordance with the internal laws of the State of Delaware
            applicable to agreements made and to be performed entirely within such State, without regard to
            the conflicts of law principles of such State that would cause the application of the laws of any
            jurisdiction other than the State of Delaware.

                   9.      This Agreement may be amended, or any provision of this Agreement may be
            waived upon the approval, in writing, executed by each of the parties hereto. No course of
            dealing between or among the parties hereto shall be deemed effective to modify, amend or
            discharge any part of this Agreement or any rights or obligations of any such party or such
            holder under or by reason of this Agreement.

                    10.     From time to time following the date hereof, if any further action is reasonably
            necessary to carry out the purposes of this Agreement, each of the parties hereto will take such
            further action (including the execution and delivery of such further instruments and documents)
            that is reasonably necessary or appropriate to effectuate and perform the provisions of this
            Agreement.

                   11.     Nothing in this Agreement alters or amends any covenants, representations,
            warranties or indemnities set forth in the APA, all of which shall be independent of the terms and
            conditions of this Agreement. If any conflict exists between the terms of this Agreement and the
            terms of the APA, the terms of the APA shall govern and control.

                                     [Remainder of this page is intentionally left blank]
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                   IN WITNESS WHEREOF, the Assignor and Assignee have caused this Agreement to be
            executed by their duly authorized representatives as of the date first written above.

                                                             ASSIGNOR:

                                                             [●]



                                                             By:     ____________________________________
                                                             Name: ____________________________________
                                                             Title: _____________________________________




                                      [Signature Page to Assignment and Assumption Agreement]
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                   IN WITNESS WHEREOF, the Assignor and Assignee have caused this Agreement to be
            executed by their duly authorized representatives as of the date first written above.


                                                              ASSIGNEE:

                                                              [●]



                                                              By:    ____________________________________
                                                              Name: ____________________________________
                                                              Title: ____________________________________




                                  [Signature Page to Assignment and Assumption of Leases Agreement]
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                                                             EXHIBIT A

            1. [●]
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                                                             SCHEDULES


                                                             relating to the


                                             ASSET PURCHASE AGREEMENT


                                                 dated as of December 8, 2023

                                                             by and among

                                                    GPSS HOLDINGS, LLC,

                                                             as Purchaser,

                                                                  and

                                                  YELLOW CORPORATION

                                       AND ITS SUBSIDIARIES NAMED THEREIN,

                                                              As Sellers




                            This document is not intended to create, nor will it be deemed to create
                           a legally binding or enforceable offer or agreement of any type or nature,
                                       unless and until agreed and executed by the parties.




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                                                   SCHEDULES
                              To Asset Purchase Agreement, dated as of December 8, 2023

            These are the Schedules to that certain Asset Purchase Agreement (the "Agreement"), entered into
            as of December 8, 2023, among GPSS Holdings, LLC, a Delaware limited liability company
            ("Purchaser"), and Yellow Corporation, a Delaware corporation) (“Yellow”) and the Subsidiaries
            of Yellow that are indicated on the signature pages attached thereto (each a “Seller” and
            collectively with Yellow, the “Sellers”). Purchaser and Seller are referred to herein individually as
            a “Party” and collectively as the “Parties.” Capitalized terms used in these Schedules and not
            otherwise defined herein have the meanings given to them in the Agreement.

            These Schedules have been arranged for purposes of convenience in separately numbered sections
            corresponding to the sections of the Agreement; provided, however, each section of these
            Schedules will be deemed to incorporate by reference all information disclosed in any other section
            of these Schedules, and any disclosure in the Schedules will be deemed a disclosure against any
            representation or warranty set forth in the Agreement. The specification of any dollar amount or
            the inclusion of any item in the representations and warranties contained in the Agreement, these
            Schedules or the attached exhibits is not intended to imply that the amounts, or higher or lower
            amounts, or the items so included, or other items, are or are not required to be disclosed (including
            whether such amounts or items are required to be disclosed as material or threatened) or are within
            or outside of the Ordinary Course, and no Party will use the fact of the setting of the amounts or
            the fact of the inclusion of any item in the Agreement, these Schedules or exhibits in any dispute
            or controversy between the Parties as to whether any obligation, item or matter not set forth or
            included in the Agreement, these Schedules or exhibits is or is not required to be disclosed
            (including whether the amount or items are required to be disclosed as material or threatened) or
            are within or outside of the Ordinary Course. In addition, matters reflected in these Schedules are
            not necessarily limited to matters required by the Agreement to be reflected in these Schedules.
            Such additional matters are set forth for informational purposes only and do not necessarily include
            other matters of a similar nature. No information set forth in these Schedules will be deemed to
            broaden in any way the scope of the parties’ representations and warranties. Any description of
            any agreement, document, instrument, plan, arrangement or other item set forth on any Schedule
            is a summary only and is qualified in its entirety by the terms of such agreement, document,
            instrument, plan, arrangement, or item which terms will be deemed disclosed for all purposes of
            the Agreement. The information contained in the Agreement, in these Schedules and exhibits
            thereto is disclosed solely for purposes of the Agreement, and no information contained herein or
            therein will be deemed to be an admission by any Party to any third party of any matter whatsoever,
            including any violation of Law or breach of Contract.
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                                           Schedule 1.1(a) – Owned Real Property

       Location                 Street Address                City           State       Zip Code    Owning Entity


     Phoenix, AZ              3045 S 43rd Avenue             Phoenix          AZ          85009      USF Reddaway
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                                            Schedule 1.1(b) – Assigned Contracts


            None.
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                                       Schedule 3.1 – Organization and Qualification

            None.
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                                            Schedule 3.3(b) – Conflicts; Consents

            None.
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                                      Schedule 3.4 – Title to Acquired Real Property

            None.
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                                           Schedule 3.6 – Environmental Matters

            None.
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                                                    Schedule 3.7 – Brokers


            None.
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                                            Schedule 4.3(a) – Conflicts; Consents

            None.
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                                             Schedule 6.1 – Permitted Exceptions


            None.
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                                         Schedule 6.10 – Seller Support Obligations


            None.
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                                                  Schedule 7.1(a) - Antitrust


            None.
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                                             Schedule 7.2(b)(iii) – Pro Rated Amount


                                                                                                     Percentage of Purchase
        Location            Street Address            City            State         Purchase Price
                                                                                                             Price

       Phoenix, AZ       3045 S 43rd Avenue          Phoenix           AZ              $9,850,000            100%


         TOTAL                                                                         $9,850,000            100%
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                                       Schedule 11.1(xx) – Permitted Encumbrances

            None.
